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                                No. 22-15677


                                    In the
                United States Court of Appeals
                           for the Ninth Circuit


                          AIRLINES FOR AMERICA,

                                                             Plaintiff-Appellant,

                                      v.

                   CITY AND COUNTY OF SAN FRANCISCO,

                                                            Defendant-Appellee.

            On Appeal from the United States District Court
  for the Northern District of California, Case No. 3:21-cv-02341-EMC,
           Hon. Edward M. Chen, United States District Judge

                      AIRLINES FOR AMERICA’S
                          OPENING BRIEF


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                        DISCLOSURE STATEMENT

      Airlines for America (A4A) is a nonprofit corporation organized under

the laws of the District of Columbia, with its principal place of business in

Washington, DC. A4A is a trade organization that advocates on behalf of its

member air carriers on a wide range of issues relevant to the airline industry,

including safety, security, the environment, and customer service. A4A’s

member airlines include Alaska Airlines, Inc; American Airlines, Inc.; Atlas

Air, Inc.; Delta Air Lines, Inc.; FedEx Corporation; Hawaiian Airlines, Inc.;

JetBlue Airways Corp.; Southwest Airlines Co.; United Airlines, Inc.; and

UPS Airlines.




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                                  GLOSSARY

A4A                             Airlines for America

ADA                             Airline Deregulation Act

Board of Supervisors            The City’s legislative branch

City                            City and County of San Francisco

City Option                     Requirement that airlines or airline service
                                providers pay $9.50 per hour per employee if
                                they do not provide free healthcare benefits
                                complying with the HAO

ERISA                           Employee Retirement Income Security Act

HAO                             Healthy Airport Ordinance, 2-ER-58-74, 2-ER-
                                134-41

HAP                             Health Access Program

HCAO                            Health Care Accountability Ordinance

LUAs                            The ten-year 2011 Lease and Use Agreements
                                between airlines and the City for airline oper-
                                ations at SFO, and extended as modified

Platinum or platinum-level Type of healthcare benefits plan that the HAO
                           requires airlines and airline service providers
                           to offer free of charge to their employees

QSP                             Quality Standards Program, 4-ER-429-510

RLA                             Railway Labor Act

SFO                             San Francisco International Airport




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                   REQUEST FOR ORAL ARGUMENT

     This appeal presents an important legal issue that A4A believes the

district court incorrectly resolved. A4A believes that oral argument would

help the Court decide this case.




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                              INTRODUCTION

      Private businesses generally cannot tell other businesses what to do,

unless the parties have agreed otherwise in a contract. So, for example, a

landlord cannot tell a lessee what healthcare benefits to provide its employ-

ees, unless the parties sign a lease giving the landlord that right. Nor can

private businesses enforce their demands with misdemeanor prosecutions.

Similarly, private businesses cannot impose discretionary fines on contract-

ing partners for refusing to comply with terms their counterparties never

agreed to in the contract.

      The City and County of San Francisco knows all that. That is why,

when it wanted airlines and airline service providers at San Francisco Inter-

national Airport (SFO) to start providing free premium healthcare plans for

their employees, it cut SFO’s management out of the picture and did what

only a government can do. In November 2021, the City enacted legislation

imposing its demands: the Healthy Airport Ordinance (HAO).

      The HAO requires all airlines and airline service providers at SFO to

pay for “platinum-level” healthcare benefits for their employees and their

employees’ families. The alternative is to pay $9.50 per employee per hour—

more than the federal minimum wage—into a City fund that the HAO does


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not let the employee access. The HAO purports to bind airlines even if the

airlines (like Airlines for America’s (A4A) members) have not agreed to the

HAO in their leases for SFO with the City. Indeed, the HAO provides that

airlines cannot waive its requirements in their collective-bargaining agree-

ments (CBAs) with their employees. The consequences for noncompliance

are harsh. Violations are misdemeanors, and they also trigger civil penalties,

including fines of $1,000 per employee per day—or more—at the Airport

Director’s discretion.

      This appeal concerns the City’s claim that the HAO does not have the

force and effect of law—or, put another way, that it is not regulatory. Ac-

cording to the City, the HAO cannot be preempted by the Employee

Retirement Income Security Act of 1974 (ERISA), 29 U.S.C. § 1144(a), (c); the

Airline Deregulation Act, 49 U.S.C. § 41713(b)(1); or the Railway Labor Act

(RLA) because the City was not legislating but only participating in the mar-

ket in the same way a private business might. The district court agreed,

entering judgment for the City without reaching preemption on the merits.

      That is wrong. The HAO imposes coercive criminal and civil penalties

available only to governments. The HAO is regulation.




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      1.    Because federal preemption reaches only regulation, a govern-

ment can avoid preemption if it “acted as a private party, contracting in a

way that the owner of an ordinary commercial enterprise could mimic.”

American Trucking Ass’ns, Inc. v. City of Los Angeles, 569 U.S. 641, 651 (2013)

(ATA). But when a government uses “a coercive mechanism, available to no

private party, it acts with the force and effect of law, whether or not it does

so to turn a profit,” and cannot invoke the market-participation exception.

ATA, 569 U.S. at 651-52. Thus, a government’s demands are regulatory when

it threatens criminal penalties, or fines or penalties unavailable to ordinary

contracting parties.

      2.    The HAO imposes criminal penalties. Under California law,

“[v]iolation of a city” or county “ordinance is a misdemeanor unless by or-

dinance it is made an infraction.” Cal. Gov’t Code § 25132(a) (county); id.

§ 36900(a) (city). The HAO does not make violations infractions, so

§§ 25132(a) and 36900(a)’s plain language makes them misdemeanors. So the

inquiry ends there: the City cannot invoke the market-participation defense,

because only the government can wield “the hammer of the criminal law.”

ATA, 569 U.S. at 651. But the district court refused to give §§ 25132(a) and

36900(a) their plain meaning, rejecting California caselaw and instead

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relying on a purposive and since-abandoned 1977 California Attorney Gen-

eral opinion reasoning that the statutes cannot mean what they say. That was

error.

         3.    The HAO is also regulatory because it is backed by civil penal-

ties. For example, the HAO requires noncompliant airlines to pay $9.50 per

hour into a City fund and allows the government to assess fines of $1,000 per

day or more, at the Airport Director’s discretion. Those consequences are civil

penalties for two reasons. First, the airlines never agreed to them—they ap-

ply only by force of law. Ordinary businesses cannot demand money from

their contractual partners for failure to meet extracontractual demands. Sec-

ond, the HAO’s consequences are unlike any contractual remedy available to

private parties. Although private businesses may provide by contract for

fixed and certain liquidated damages, for instance, they cannot enforce dis-

cretionary fines. In concluding otherwise, the district court failed to grapple

with the airlines’ express reservation of their right to challenge the HAO and

the uniquely governmental nature of the HAO’s consequences.

         4.    Finally, although the HAO’s criminal and civil penalties fore-

close the City’s market-participation defense, the HAO is also regulatory

because it fails the test under Airline Service Providers Association v. Los

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Angeles World Airports, 873 F.3d 1074, 1080 (9th Cir. 2017) (LAX). First, the

City used an ordinance—a tool available only to the government—to impose

requirements the airlines never agreed to. And it did so to promote the gen-

eral welfare, not simply to manage SFO like a private business. Second, the

HAO is not tailored to any proprietary purpose—instead, it singles out air-

lines and airline service providers even though other airport-based

businesses have extensive public contact, all while imposing spillover costs

on airline employees nationwide. The HAO was coercive regulatory action,

not a business judgment. Indeed, the Airport itself opposed the HAO.

      No private party can enforce its demands with criminal penalties or

discretionary fines. Because the HAO purports to do just that, the City can-

not hide behind the market-participation defense to avoid preemption. The

Court should reverse and remand for further proceedings.

                      JURISDICTIONAL STATEMENT

      a.    The district court had jurisdiction under 28 U.S.C. §§ 1331 and

1367(a). This case arises under (i) the Supremacy and Contracts Clauses of

the U.S. Constitution, U.S. Const. art. VI, cl. 2, and art. I, § 10, cl. 1; and (ii)

federal law, including ERISA, 29 U.S.C. § 1144; the ADA, 49 U.S.C. § 41713;

and the RLA, 45 U.S.C. § 151 et seq. See Verizon Md. Inc. v. Public Serv. Comm’n,


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535 U.S. 635, 642 (2002). The district court had supplemental jurisdiction over

A4A’s claim under the California Constitution because that claim is part of

the same controversy as A4A’s federal-law claims.

      b.    This Court has jurisdiction under 28 U.S.C. § 1291 because this

appeal is from a final judgment that disposes of all parties’ claims.

      c.    This appeal is timely. On April 5, 2022, the district court granted

summary judgment for the City and entered final judgment. On May 3, 2022,

within thirty days, A4A filed its notice of appeal. 4-ER-558-60; see Fed. R.

App. P. 4(a).

                          STATEMENT OF ISSUES

      Whether the City and County of San Francisco’s Healthy Airport Or-

dinance has the force and effect of law, meaning that the City cannot invoke

the market-participation defense to preemption by federal law.

                PERTINENT STATUTORY PROVISIONS

      Relevant authorities are reproduced in the addendum (at 72-97).

                        STATEMENT OF THE CASE

      A.    The Board of Supervisors is San Francisco’s legislative
            branch.

      San Francisco is a chartered city and county under the California Con-

stitution. 4-ER-532. Under the City’s Charter, the Board of Supervisors is the

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City’s legislative branch, and “[a]ll legislative acts shall be by ordinance.”

S.F. Charter § 2.105; see id. art. II.

      California law provides that “[v]iolation of a city” or a county “ordi-

nance is a misdemeanor unless by ordinance it is made an infraction.” Cal.

Gov’t Code § 36900(a) (city); id. § 25132(a) (county). Thus, an ordinance vio-

lation “may be prosecuted” by city or county “authorities in the name of the

people of the State of California, or redressed by civil action.” Id.

      A misdemeanor is a crime. See “Misdemeanor,” Black’s Law Dictionary

(11th ed. 2019). Absent a more specific provision, California law makes a

misdemeanor “punishable by imprisonment in the county jail not exceeding

six months, or by fine not exceeding one thousand dollars ($1,000), or by

both.” Cal. Penal Code § 19. “An infraction,” in contrast, “is not punishable

by imprisonment” and carries no right “to a trial by jury” or appointed coun-

sel. Id. § 19.6. A violation of a city or county ordinance is punishable by a fine

of up to $100 for the first violation, $200 for a second violation within a year

of the first, and $500 “for each additional violation of the same ordinance

within one year of the first violation.” Cal. Gov’t Code §§ 25132(b)(1)-(3),

36900(b)(1)-(3).




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     B.     The Airport Commission operates and serves as the City’s
            contracting partner for SFO.

     Like every other international airport in the United States, SFO is pub-

licly owned and provides federally regulated transportation services. 2-ER-

166, 4-ER-532. San Francisco owns the airport and operates it through the

City’s Airport Commission. The airport has its own dedicated San Francisco

Police Department Airport Bureau and San Francisco Fire Department Air-

port Division. 2-ER-172-73. And the City can use (and has used) eminent

domain to secure property for SFO. 2-ER-166, 2-ER-174.

     The Airport Commission is responsible for “the construction, manage-

ment, supervision, maintenance, extension, operation, use and control of all

property, as well as the real, personal and financial assets which are under

the Commission’s jurisdiction.” S.F. Charter § 4.115. The Commission con-

tracts on the City’s behalf with companies that provide services at SFO,

including airlines that lease airport and terminal space. 4-ER-538-39. But the

Commission has “no authority” to legislate. 2-ER-107.

     In 2010, the Commission entered into two dozen lease agreements with

different airlines, each for a ten-year term starting in 2011. 4-ER-539. The

agreements set out SFO’s and the airlines’ rights and obligations, including



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the requirements with which the airlines agree to comply as a condition of

operating at SFO. 3-ER-224-411.

      C.    The Board of Supervisors enacts the HAO, legislation drafted
            by airport-worker unions to impose healthcare-benefits
            requirements on airlines operating at SFO.

            1.    Labor unions representing airport workers draft and
                  lobby for legislation requiring no-cost health insurance.

      In July 2020, San Francisco labor leader Mike Casey and several labor

unions representing airport workers lobbied the Board of Supervisors for

legislation that would require SFO employers to provide free health insur-

ance for workers and their families. That summer, the unions worked with

Supervisor Rafael Mandelman’s staff and the City Attorney’s office to draft

the HAO. The unions told the City Attorney that their “primary goal” was

requiring airport employers to provide free healthcare to “all workers” who

are union members. 2-ER-124. Casey connected Supervisor Mandelman’s

legislative aide with a labor union “researcher” who would “work[] with”

the Supervisor’s staff on “the findings section of the legislation.” 2-ER-121.

      In September 2020, Supervisor Mandelman introduced the HAO,

which was designed “to apply to airlines and their service providers at SFO”

but have a “minimal impact” on the airport itself. 2-ER-89. Neither the



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Commission nor the Airport had helped write the legislation. Because the

HAO was “a legislative amendment led by the [Board of Supervisors],” as

one Airport Director put it, the Commission had “no authority” to enact it,

2-ER-107, and played “no role” in developing it, 2-ER-89.

     The Commission opposed the ordinance. The Airport Director be-

lieved it was “not the right time” for the legislation because it would impose

many new costs on airport employers during the COVID-19 pandemic. 2-

ER-99. In a letter to the Board of Supervisors’ Budget and Finance Commit-

tee, he underscored that the HAO would lead to an “increased cost of doing

business at SFO”—about $120 million annually—and could “slow SFO’s

post-pandemic recovery relative to that of other airports.” 2-ER-57.

            2.    The Board of Supervisors enacts the HAO, requiring
                  airlines and airline service providers, but not the City,
                  to provide free “platinum-level” healthcare benefits to
                  employees and their families or else pay a penalty.

     In November 2020, the Board of Supervisors enacted the HAO, which

went into effect in March 2021. The ordinance requires certain SFO employ-

ers—airlines and airline service providers, but not the City (which employs

certain SFO staff, plus SFO’s firefighters and police officers) or concession-

aries or other businesses at the airport—to do one of two things. Employers



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must either (a) provide no-cost “platinum-level” healthcare benefits for their

employees and their employees’ families or (b) pay a $9.50-per-employee-

per-hour penalty into a City fund—the so-called “City Option.” 2-ER-136.

      a.    The “platinum-level” healthcare option. The HAO requires air-

lines and airline service providers to:

      •     offer a least one “platinum-level” healthcare plan, meaning a
            plan covering benefits actuarially equivalent to at least 90% of
            the full actuarial value of the benefits provided;

      •     cover all services described in the California Essential Health
            Benefit Benchmark Plan, including services like acupuncture
            and children’s orthodontia;

      •     offer those plans to all covered employees, no matter how few
            hours the employee works per week;

      •     extend those plans to cover each employee’s spouse and depend-
            ents; and

      •     absorb 100% of the plans’ costs, with no cost-sharing with em-
            ployees.

2-ER-68, 74. Before it was amended several months later, as discussed below

(at 15-16), the HAO’s platinum-level option also required employers to elim-

inate existing, collectively-bargained-for healthcare plans that did not meet

these strict requirements, even if employees wanted to keep their existing

plans. See 2-ER-68 (employer “may offer additional health benefit plans, pro-

vided that each such health benefit plan” meets requirements).

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      b.    The City Option. Employers that do not comply with the HAO’s

healthcare requirements must pay $9.50 per employee per hour—more than

the federal minimum wage of $7.25, see 29 U.S.C. § 206(a)(1)(C)—into a

Health Access Program (HAP) account established under § 14.2 of the San

Francisco Administrative Code. 2-ER-69. Although the HAO calls the pay-

ments “contributions for” each “employee,” id., the law does not authorize

the HAP to make employers’ payments available to employees or their fam-

ilies, as the City concedes. See Dist. Ct. Doc. No. 41, at 18-19; Dist. Ct. Doc.

No. 47, at 18.

      To explain: Under San Francisco Administrative Code § 14.2(g), the

Department of Public Health may “maintain Medical Reimbursement Ac-

counts from which eligible Covered Employees may obtain reimbursement

of Health Care Expenditures.” But the Covered Employees do “not include

those persons who are ‘Covered Employees’ as defined in Section 12Q.2.9 of

the Health Care Accountability Ordinance” (HCAO) “if the Employer meets

the requirements set forth in Section 12Q.3”—i.e., the HAO. S.F. Admin.

Code § 14.1(b)(4). Section 12Q.2.9, as amended by the HAO, defines a “Cov-

ered Employee” as any “San Francisco Airport Service Employee,” 2-ER-66,

meaning any airport-based employee covered by the Quality Standards

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Program (QSP). S.F. Admin. Code § 12Q.2.16. The QSP applies to airline and

airline service provider employees whose work affects safety or security at

SFO, and it sets general standards for safety, health, hiring practices, train-

ing, equipment, and compensation benefits. 1-ER-4-5, 4-ER-424-39. Because

paying the City Option penalty “meets the requirements set forth in [the

HAO],” S.F. Admin. Code § 14.1(b)(4), “Covered Employees” do not include

airline employees and the law does not authorize airline employees to access

money from HAP accounts.

            3.    The HAO contains union-written “findings.”

      The HAO contains several “findings” written by union lawyers. For

instance, the HAO states that “[e]mployees working at the Airport who per-

form services that directly impact safety and/or security at the Airport are

at considerable risk of contracting and spreading COVID-19 due to the na-

ture of their work duties.” 2-ER-64. But the HAO contains no requirements

targeting the spread of COVID-19, such as mask-wearing, social-distancing,

or vaccine mandates. Nor does it apply to the San Francisco police officers

or firefighters who work at the airport, even though they “perform services

that directly impact safety and/or security at the Airport and are at consid-

erable risk of contracting and spreading COVID-19.” Id.; see 2-ER-172-73.


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And the City does not otherwise provide those officers or firefighters with

the free health insurance the HAO requires airlines to provide. 2-ER-157, 2-

ER-165. The HAO also does not apply to many SFO employees with regular

passenger contact, like concessionaires. 2-ER-146.

            4.    The HAO applies independently of any contract and is
                  backed by criminal and civil penalties.

      The HAO applies no matter the terms in the City’s agreements with an

airline or airline service provider, and its demands are backed by criminal

and civil sanctions.

      a.    The HAO is an unnegotiated and unnegotiable legislative

command. The HAO is like any other law: its requirements and penalties for

noncompliance apply to all airlines and service providers operating at SFO,

no matter the terms of the airlines’ or service providers’ leases with the Com-

mission or the airlines’ CBAs or contracts with their employees. See 2-ER-60-

74, 2-ER-136-41. In fact, the HAO prohibits waiving its requirements by CBA,

so employers and employees cannot contract around it. 2-ER-72.

      b.    Criminal penalties. Under California law, “[v]iolation of” a city

or county “ordinance is a misdemeanor unless by ordinance it is made an

infraction.” Cal. Gov’t Code §§ 25132(a), 36900(a); see Cal. Penal Code §§ 16,



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19; supra pp. 6-7. The HAO is a city and county ordinance, and it does not

make violations infractions.

     c.     Civil penalties. Violating the HAO also triggers civil penalties.

Among other things, the City may:

     •      charge a violator for missed City Option payments, plus interest;

     •      assess penalties of $100 per week per employee;

     •      cancel any contract with the employer and bar the employer
            from entering into any contracts with the City for three years;

     •      bring a civil action against the employer, with the prevailing
            party entitled to costs and expenses.

S.F. Admin. Code §§ 12Q.5(f), 12Q.5.1(4). And under the QSP, the City may

demand fines of $1,000 per employee per day, or an even higher amount “at

the discretion of the Airport Director.” 4-ER-505.

     D.     The Board of Supervisors amends the HAO, clarifying that
            the HAO is designed “only to promote the general welfare.”

     After the City enacted the HAO, “employees ha[d] to change health

plans” because the ordinance did not allow airlines to offer non-platinum

plans, even if workers wanted to keep those plans. 2-ER-104; see supra pp. 10-

11. So the unions began “working w/ Supervisor Mandelman on some

amendments to the HAO.” 2-ER-104.




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     The Board of Supervisors passed the union-generated amendments in

April 2021. See 2-ER-80; 2-ER-141. The amendments allow employers to offer

additional—though still highly restrictive—healthcare plans, called “gold-

level” offerings, so long as they provide at least one platinum-level option.

See 2-ER-136-37.

     The amendments make the HAO’s purpose clear. Section 5 states that

“[i]n undertaking the adoption and enforcement of this ordinance, the City

is undertaking only to promote the general welfare.” 2-ER-140 (emphasis

added).

     E.     The airlines and Commission enter into lease extensions
            reserving the airlines’ rights to challenge the HAO.

     Meanwhile, the airlines were negotiating lease extensions with the

Commission. Given the complications caused by the COVID-19 pandemic,

the parties chose not to enter new 10-year lease agreements. Instead, they

agreed to “modifications” of their 2011 Lease and Use Agreements (LUAs)

extending those agreements for two more years. See 2-ER-93. In the 2011

LUAs, the airlines had agreed to comply with the QSP and the HCAO. 1-ER-

5. But although they generally continued the LUAs’ terms, the extensions




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underscored that the airlines did not agree to comply with the HAO. Instead,

the modifications reserved the airlines’ right to challenge the ordinance:

     Neither the execution of this Modification by Airline or City, nor
     the performance by either party under the Existing [lease] or this
     Modification, shall in any way prejudice or constitute a waiver
     of: (a) Airline’s right to challenge the [HAO] or the validity or
     enforcement thereof, or (b) the rights of either party to fully
     prosecute or defend, as applicable, any lawsuit by the Airline
     against the City challenging the [HAO].

3-ER-221.

     F.     A4A challenges the HAO, and the district court holds that
            federal law cannot preempt the HAO because the HAO does
            not have the force of law.

            1.    A4A sues, explaining that the HAO is preempted by
                  three federal statutes and that it violates the Contracts
                  Clauses of the U.S. and California Constitutions.

     A4A sought relief in federal court, explaining that three federal stat-

utes preempt the HAO. First, ERISA preempts state and local laws that

“relate to any employee benefit plan.” 29 U.S.C. § 1144(a). The HAO requires

airlines to adopt platinum-level benefits plans or pay exorbitant penalties to

retain existing plans. Second, the RLA preempts state and local laws that “at-

tempt[] to influence the substantive terms of collective-bargaining

agreements.” International Ass’n of Machinists & Aerospace Workers v. Wiscon-

sin Emp. Rels. Comm’n, 427 U.S. 132, 153 (1976). The HAO does not just


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“influence” airlines CBAs. It rewrites them. Third, the ADA preempts any

state or local “law, regulation, or other provision having the force and effect

of law related to a price, route, or service of an air carrier.” 49 U.S.C.

§ 41713(b). The HAO will have a “forbidden significant effect,” Morales v.

Trans World Airlines, Inc., 504 U.S. 374, 388 (1992), by forcing airlines to in-

crease prices and eliminate routes and services. See 4-ER-549-50.

      A4A also explained that the HAO violates the Contracts Clauses of the

U.S. and California Constitutions by “impair[ing] the Obligation of Con-

tracts.” U.S. Const. art. I, § 10, cl. 1; see Cal. Const. art. I, § 9. It disrupts

airlines’ CBAs with their employees, forcing the airlines to spend more

money to secure what they bargained for. See 4-ER-555-56.

            2.    The district court holds that the HAO is merely “market
                  participation,” not regulation.

      The City’s threshold defense was that the HAO cannot be preempted

because it is market participation, not regulation. The parties agreed to liti-

gate the market-participation issue first, with A4A agreeing to relinquish its

Contracts Clause claims if the courts ultimately determine that the HAO is

market participation. Dist. Ct. Doc. No. 34, at 4-5.




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      On cross-motions for summary judgment, Dist. Ct. Doc. Nos. 41, 42,

the district court ruled for the City, holding that the HAO is market partici-

pation rather than regulation.

      Criminal penalties. The district court first noted that “[t]here is no dis-

pute that the threat of criminal penalties is a unique governmental function

and would make the City a regulator, not a market participant, when enact-

ing the HAO.” 1-ER-10. In the court’s view, however, the HAO is not backed

by criminal penalties because “neither the HAO nor any related ordinance

provides that violations can lead to criminal enforcement.” 1-ER-11.

      The court acknowledged that California law states that “[v]iolation of

a county ordinance is a misdemeanor unless by ordinance it is made an in-

fraction,” id. (quoting Cal. Gov’t Code § 25132(a)), and that another section

“provides the same but for violations of city ordinances, id. (citing Cal. Gov’t

Code § 36900(a)). But honoring the statutes’ plain language “would produce

absurd results,” the court reasoned, because it would “‘mean that every con-

ceivable violation of any ordinance constitutes a misdemeanor.’” 1-ER-11-12

(quoting Honorable Ronald L. MacMillen, 60 Ops. Cal. Att’y Gen. 83, 1977 WL

24859, at *4 (1977)). (The court did not address the “unless by ordinance it is

made an infraction” language, or the statutes’ statement that violations may

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also be “redressed by civil action.” Cal. Gov’t Code §§ 25132(a), 36900(a).)

Relying on the California Attorney General’s 1977 MacMillen opinion, the

court reasoned that the California legislature could have amended the stat-

ute if it disagreed with the Attorney General. 1-ER-12.

      Civil penalties. The district court next held that the HAO does not

contain civil penalties. The court acknowledged that government action is

regulatory if it uses civil enforcement mechanisms unavailable to private

parties. See 1-ER-17-18. It nonetheless held, without meaningfully grappling

with the lease extensions’ reservation of rights, that “the airlines voluntarily

agreed to [the HAO’s] term[s].” 1-ER-22. The court also equated the HAO’s

consequences for noncompliance with “ordinary contract remedies.” 1-ER-

19. For example, the court reasoned that the HAO’s provisions allowing the

City to seek $100 per week and $1,000 or more per employee per day, at the

Airport Director’s discretion, are “functionally equivalent to ordinary com-

mercial contract terms wherein contract parties may agree to certain

consequences for breach.” 1-ER-18. In the court’s view, those provisions rep-

resented a “reasonable estimate of the harm that would be caused by

violations” of the HAO even though they were directly borrowed from the

HCAO, older legislation that merely requires employers to offer certain

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minimum health insurance coverage, 1-ER-4. 1-ER-21-22. The court also rea-

soned that the City Option is not a penalty because airline employees “can

access the money” paid into the HAP, even though, the court acknowledged,

a plain reading of the HAO and San Francisco Administrative Code does not

authorize that access. 1-ER-19-21.

     The LAX test. Finally, the district court held that the HAO was market

participation under the LAX test. Under the first inquiry, the court reasoned

that the City enacted the HAO to pursue the efficient procurement of goods

and services, as a similarly situated private business might. The court rea-

soned that the lease agreements “include a provision where the contracting

airlines agrees [sic] to comply with the HCAO and its future amendments,

e.g., the HAO.” 1-ER-29. According to the court, because the airlines “were

aware of the HAO and the [lease agreement] provision that requires them to

comply with the HAO” when they signed the lease extensions, the HAO

“applied as a result of an agreement,” not because of the force of law. 1-ER-

30. The court also reasoned that the City enacted the HAO to advance airport

safety and security by helping recruit high-quality employees and prevent

their turnover. See 1-ER-31.




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      On the second inquiry, the court held that the HAO’s narrow scope

showed that it was market participation. 1-ER-34. The court reasoned, with-

out evidence, that the HAO applies only to airport employers and that it will

reduce turnover, thus enhancing safety and security at the airport. 1-ER-36.

                         STANDARD OF REVIEW

      This Court “review[s] de novo a district court’s decision regarding

preemption,” Olympic Pipe Line Co. v. City of Seattle, 437 F.3d 872, 877 n.12

(9th Cir. 2006), as well a “district court’s order granting summary judgment

and its interpretation of state law,” Tabares v. City of Huntington Beach, 988

F.3d 1119, 1124 (9th Cir. 2021) (citation omitted).

                       SUMMARY OF ARGUMENT

      The HAO has the force of law, and so is subject to federal preemption.

The HAO imposes requirements by fiat, not agreement, and backs them with

civil and criminal penalties available only to the government.

      A.    Preemption under the ADA, ERISA, and the RLA reaches state

and local government action that has “the force and effect of law.” ATA, 569

U.S. at 649-50; see 49 U.S.C. § 41713(b); 29 U.S.C. § 1144(a). Such “quintessen-

tial regulatory action” includes “‘government-imposed policies’ prescribing

‘binding standards of conduct,’” ATA, 569 U.S. at 649 (citation omitted),


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“that operate irrespective of any private agreement,” American Airlines, Inc.

v. Wolens, 513 U.S. 219, 229 n.5 (1995) (citations omitted); see Northwest, Inc.

v. Ginsberg, 572 U.S. 273, 285-87 (2014). Only when the government enters

“into a contract” or otherwise behaves “just as a private party would” can it

escape preemption as a so-called market participant. ATA, 569 U.S. at 649-

50. Three sets of considerations inform the market-participation inquiry.

      1.     Government action has the force of law where it is backed by

criminal penalties. Id. As ATA makes clear, that is the rule even if private

parties agree to abide by the requirements backed by criminal penalties, and

even if those requirements pursue some proprietary objective. Only the gov-

ernment can wield the hammer of the criminal law.

      2.     Government action also has the force of law where it is backed

by civil penalties, which are coercive tools unlike the contract remedies

available to private businesses. The government may act like a private busi-

ness, and thus as a market participant, where it makes demands of a

contractual counterparty. But it does not act like a private business when it

uses civil penalties, like fines.

      3.     ATA makes clear that the criminal- and civil-penalties inquiries

come first: if government action is backed by penalties, it is regulatory. But

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even if the government does not use criminal or civil penalties, it still must

prove that its action is not regulatory to claim market participation. First, the

Court asks whether “the challenged governmental action [is] undertaken in

pursuit of the ‘efficient procurement of needed goods and services,’ as one

might expect of a private business in the same situation.” LAX, 873 F.3d at

1080 (citation omitted). Thus, the government acts as a regulator when it im-

poses requirements without a party’s assent, because only the government

can impose binding standards by fiat. Second, the Court asks whether “the

narrow scope of the challenged action defeat an inference that its primary

goal was to encourage a general policy rather than [to] address a specific

proprietary problem.” Id. (citation omitted). If the answer to both questions

is “no,” then the government action is regulatory. A4A preserves its chal-

lenges to these residual tests, which the Solicitor General too has criticized.

      B.    The HAO has the force of law because it is backed by criminal

penalties. This straightforward point alone resolves this appeal.

      1.    Under California law, “[v]iolation of a city” or county “ordi-

nance is a misdemeanor unless by ordinance it is made an infraction.” Cal.

Gov’t Code § 25132(a) (county); id. § 36900(a) (city). The HAO does not




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provide that violations are infractions, so California law makes them misde-

meanors. The HAO thus has the force of law.

      2.    The district court refused to read §§ 25132(a) and 36900(a) ac-

cording to their plain terms, relying instead on a 1977 California Attorney

General opinion to conclude that the California legislature did not mean

what it said. That was error. The statutes are unambiguous. The district court

had no license to second-guess the terms the state legislature enacted.

      C.    The HAO is also regulatory because it is backed by civil penal-

ties. This point, too, can resolve this appeal without further inquiry.

      1.    The HAO imposes multiple civil penalties on airlines that refuse

to comply with its terms. A noncompliant airline must pay into the HAP

account under the City Option. If it does not, the City may assess penalties

of $100 per week per employee; the Airport Director may impose civil fines

of $1,000 per employee per day or some higher amount at her discretion; and

the City may debar the airline from any future contract for three years. All

those consequences are civil penalties for two reasons. First, the airlines

agreed to none of them—they apply by force of law alone. Second, those con-

sequences do not resemble ordinary contract remedies. For example, the




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Airport Director’s $1,000-and-up fines are unlike liquidated damages, which

must be fixed and certain, because the amount is completely discretionary.

     2.     Although the district court acknowledged that civil penalties

make government action regulatory, it thought that the airlines voluntarily

agreed to the HAO’s terms. That is wrong. The lease extensions the airlines

signed with the City expressly reserved the right to challenge the HAO.

     D.     Even leaving criminal and civil penalties aside, the HAO is reg-

ulatory under this Court’s residual test for market participation.

     1.     The City fails prong 1 of the LAX test because it used tools avail-

able only to the government and did not pursue a proprietary interest in

enacting the HAO. The City used an ordinance, as only the government can,

to impose requirements the airlines never agreed to at the bargaining table.

What’s more, the purpose of the HAO was to advance a general labor policy

of making health benefits more widely available for certain marginalized

groups. The City can point to no evidence to carry its burden of proving that

it enacted the HAO to reduce employee turnover and restore confidence in

the safety of air travel. Besides, promoting airport safety and security—not

to mention “the general welfare,” supra pp. 15-16— is a regulatory goal.




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      2.    The City fails prong 2 of the LAX test because the HAO is not

tailored to a proprietary purpose, as the mismatch between the HAO and its

alleged purposes shows. For example, the City says the HAO will reduce

employee turnover. But the HAO leaves many airport workers with more

extensive contact with the public uncovered, from concessionaries to police

officers and firefighters. At the same time, it has a spillover effect on airline

employees nationwide, who will now need to pay more to subsidize their

SFO colleagues’ healthcare. The City’s overreach—regulating its contracting

parties’ relationships with their employees—likewise shows that the HAO

is regulatory.

      3.    A4A preserves its challenges to the flawed LAX test. The scope

of government action should be just one consideration, not an entire test.

Another consideration should be whether the action affects the govern-

ment’s operation of a public good. Contrary to LAX, airports’ role as public

infrastructure makes them inherently governmental operations.




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                                 ARGUMENT

      A.    The government acts as a regulator when it threatens criminal
            or civil sanctions or otherwise acts as only a government can.

      The ultimate questions in this case are whether federal law preempts

the HAO or the HAO violates the Contracts Clauses of the U.S. or California

Constitutions. The threshold issue on appeal is whether the HAO has “the

force and effect of law,” because federal law may preempt “a government’s

exercise of regulatory authority” but not “its own contract-based participa-

tion in a market.” ATA, 569 U.S. at 649-50. Put another way, federal

preemption “targets the State acting as a State, not as any market actor—or

otherwise said, the State acting in a regulatory rather than proprietary

mode.” Id. at 650; see 29 U.S.C. § 1144(a); 49 U.S.C. § 41713(b).

      There are three sets of considerations for determining whether state or

local action is regulatory or proprietary. First, the government “exercise[s]

classic regulatory authority”—requiring no further inquiry—when it makes

violation of its requirements “a violation of criminal law.” ATA, 569 U.S. at

650. When the government chooses “to fulfill [its] goals” with a tool “only a

government can wield: the hammer of the criminal law,” its “intentions are

not what matters.” Id. at 651. Second, the government acts as a regulator—



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likewise requiring no further inquiry—when it backs its requirements with

civil penalties “available to no private party.” Id. at 651-52. “Only the gov-

ernment can create and administer such a system.” Friends of the Eel River v.

North Coast R.R. Auth., 399 P.3d 37, 76 (Cal. 2017); accord Tri-M Group, LLC v.

Sharp, 638 F.3d 406, 425 (3d Cir. 2011).

      Finally, even when the government does not use criminal or civil sanc-

tions, it still must show that its “action constitutes non-regulatory market

participation.” Johnson v. Rancho Santiago Cmty. Coll. Dist., 623 F.3d 1011,

1024 (9th Cir. 2010). Supreme Court precedent distinguishes between volun-

tary contractual commitments, like those private parties can make, and

“binding standards of conduct that operate irrespective of any private agree-

ment,” Wolens, 513 U.S. at 229 n.5 (citation omitted), which are “state-

imposed obligation[s]” subject to preemption, Ginsberg, 572 U.S. at 285-87.

      For every consideration under the market-participant inquiry, the

questions are what the government did and how it did it. The question is not

what the state or local government could have done or could have included in

a contract. Courts cannot uphold regulatory action “on the ground that the

[government] could achieve the same end as a market participant” if the




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government did something only a government can do. South-Central Timber

Dev., Inc. v. Wunnicke, 467 U.S. 82, 98-99 (1984) (plurality opinion).

            1.    State or local government action has the force of law
                  when it is backed by criminal penalties.

      As the district court noted, “[t]here is no dispute that the threat of crim-

inal penalties is a unique governmental function and would make the City a

regulator, not a market participant, when enacting the HAO.” 1-ER-10.

      The principle is straightforward: Government action is regulatory

“when the government employs … a coercive mechanism, available to no

private party, … whether or not it does so to turn a profit.” ATA, 569 U.S. at

651-52. When the government uses “the threat of criminal sanctions” to back

its demands, it acts as “the government qua government, performing its pro-

totypical regulatory role.” Id. at 651.

      The question in ATA was whether the Port of Los Angeles’ require-

ments for motor carriers had the force and effect of law. Id. at 648-49. To

address community concerns about congestion and air pollution caused by

drayage trucks moving cargo to and from the Port, the Port put two require-

ments into its concession agreements with trucking companies. Id. at 645.

First, the Port required drayage trucks to display placards with phone



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numbers for reporting environmental or safety concerns. Id. Second, the Port

required the drayage companies to submit plans for off-street parking for

trucks not in service. Id. To ensure that all drayage companies would enter

into concession agreements, the Port amended an ordinance to require ter-

minal operators (separate companies) to work only with drayage trucks

registered under concession agreements. Id. The ordinance made a violation

of that requirement a misdemeanor “punishable by a fine of up to $500 or a

prison sentence of up to six months.” Id.

      The Supreme Court held that the concession agreements’ placard and

parking requirements had the force and effect of law because they were en-

forceable by criminal penalties. Id. at 649-52. The Court contrasted “‘official,

government-imposed policies’ prescribing ‘binding standards of conduct’”

with “‘contractual commitment[s] voluntarily undertaken.’” Id. at 649 (quot-

ing Wolens, 513 U.S. at 229 & n.5 (brackets in original)). Although “everyday

contractual arrangements” do not have the force of law, the Port’s require-

ments went beyond “voluntary commitments.” Id. at 650. Backed by

criminal penalties in the Port’s ordinance, the concession agreements were

“part and parcel of a governmental program wielding coercive power over

private parties.” Id.

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      The Supreme Court made clear that once criminal penalties came into

the picture, the Port could no longer claim it was acting as a market partici-

pant. This Court had found that the Port was acting “to enhance goodwill

and improve the odds of achieving its business plan—just as a private com-

pany might.” Id. at 651. But the Supreme Court said that “the Port’s

intentions [were] not what matter[ed].” Id. It did not matter that Port was

trying to advance its “own ‘business interest’ in ‘managing its facilities’” by

“‘address[ing] [a] specific proprietary problem[]’—the need to ‘increase the

community good-will necessary to facilitate Port expansion.’” Id. at 647 (first

brackets added; citation omitted). Nor did it matter that the concession

agreements “spell[ed] out” other “penalties for any signatory trucking com-

pany” or that “the Port ha[d] never suspended or revoked a trucking

company’s license to operate at the Port for a prior violation of one of the

contract provisions.” Id. at 645-46. What mattered was that “the Port chose a

tool to fulfill those goals which only a government can wield: the hammer of

the criminal law.” Id. at 651.




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              2.    Government action also has the force of law when it is
                    backed by civil penalties.

        Government action is also regulatory when it is backed by civil penal-

ties,   because    unless    the   government      “forgoes     the   (distinctively

governmental) exercise of legal authority,” it cannot escape federal preemp-

tion. Id. at 652. Although ATA focused on criminal penalties, the same rule

applies to civil penalties, as the district court recognized. See 1-ER-14-16; Tri-

M Group, 638 F.3d at 425; Friends of the Eel River, 399 P.3d at 76.

        a.    Start with Rowe v. New Hampshire Motor Transport Association, 552

U.S. 364 (2008). Rowe held that federal law preempted a Maine statute that

imposed civil liability on motor carriers that violated certain requirements

when delivering tobacco. Id. at 368-69, 371-73. The statute thus “directly reg-

ulate[d] a significant aspect of the motor carrier’s package pickup and

delivery service,” “creat[ing] the kind of state-mandated regulation that the

federal Act pre-empts.” Id. at 373.

        Next consider Tri-M Group, where the Third Circuit held that a Dela-

ware “regulatory scheme for the training and compensation of apprentices

on construction projects” had the force of law. 638 F.3d at 425. Civil penalties

alone were enough. The court reasoned that “the potential civil penalty



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threatened by the State”—between $1,000 and $5,000 per violation—did not

“reflect mere market participation by private actors.” Id. The court explained

that “[a] governmental entity acts as a market regulator when it employs tools

in pursuit of compliance that no private actor could wield, such as the threat

of civil fines.” Id. (quoting United Haulers Ass’n v. Oneida-Herkimer Solid Waste

Mgmt. Auth., 438 F.3d 150, 157 (2d Cir. 2006)).

      The California Supreme Court, too, has concluded that the market-par-

ticipant offense cannot apply when the government “create[s] and

administer[s]” “enforcement mechanisms that would not be available to a

private party.” Friends of the Eel River, 399 P.3d at 76. Treating such a scheme

as market participation “would run afoul of the teaching of American Truck-

ing.” Id. “[L]ike the possibility of criminal sanctions in [ATA],” such a regime

“is not a tool ‘that the owner of an ordinary commercial enterprise could

mimic.’” Id. (quoting ATA, 569 U.S. at 651).

      This Court’s caselaw tracks these principles. The Court has held that a

statute coercing compliance with “civil penalties and debarment from bid-

ding on public works contracts for one year … amount[ed] to regulation, not

merely ‘market participation.’” Hydrostorage, Inc. v. Northern Cal. Boilermakers

Loc. Joint Apprenticeship Comm., 891 F.2d 719, 722, 730 (9th Cir. 1989),

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abrogated on other grounds as stated in Engine Mfrs. Ass’n v. South Coast Air

Quality Mgmt. Dist., 498 F.3d 1031, 1044 (9th Cir. 2007). And the en banc

Court found a California statute regulatory where “a provision for civil pen-

alties” “permit[ted] private parties to file civil actions against employers

who violate the statute.” Chamber of Com. of U.S. v. Lockyer, 463 F.3d 1076,

1085 (9th Cir. 2006) (en banc), rev’d sub nom. Chamber of Com. of U.S. v. Brown,

554 U.S. 60, 69-74 (2008) (Ninth Circuit correctly held statute was regulatory

but incorrectly found it not preempted).

      b.    Before the district court, the City relied on Engine Manufacturers

to contend that criminal and civil penalties do not “preclude the application

of the market participant doctrine.” 498 F.3d at 1048. The district court cor-

rectly rejected that argument for two reasons. First, “Engine Mfrs. is no longer

good law because in ATA, the Supreme Court held that coercive mechanisms

that are unavailable to private parties, such as the threat of criminal sanc-

tions, constitute regulatory action.” 1-ER-16. Second, “Engine Manufacturers

is inapplicable” “notwithstanding … ATA’s holding superseding its deci-

sion.” 1-ER-16 n.5. Engine Manufacturers “permitted state control over the

state’s own internal purchasing decisions, but did not extend to permitting

regulation of private third parties.” Friends of the Eel River, 399 P.3d at 76. But

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“in this case, the issue is not the City’s own internal purchasing decisions

but the application of the HAO on private third parties.” 1-ER-16 n.5.

            3.    The government also acts as a regulator when it
                  otherwise uses governmental tools or proceeds in a way
                  that a private actor could not or would not.

      a.    Even when the government does not use criminal or civil penal-

ties, it still must show that its “action constitutes non-regulatory market

participation.” Johnson, 623 F.3d at 1024. This Court uses a two-part test:

“First, is the challenged governmental action undertaken in pursuit of the

‘efficient procurement of needed goods and services,’ as one might expect of

a private business in the same situation?” LAX, 873 F.3d at 1080 (citation

omitted). “Second, ‘does the narrow scope of the challenged action defeat an

inference that its primary goal was to encourage a general policy rather than

[to] address a specific proprietary problem’?” Id. (citation omitted). If the an-

swer to both questions is “no,” then the action is regulatory. As discussed

below, A4A preserves its challenges to this residual framework, which con-

travenes the proper totality-of-the-circumstances inquiry.

      i.    The first question looks to whether the challenged action is

something a private party could and might do in the marketplace. Johnson,

623 F.3d at 1024. Thus, government action has the force of law where it


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imposes requirements by fiat rather than agreement. In GSW, Inc. v. Long

County, 999 F.2d 1508, 1514-15 (11th Cir. 1993), for instance, the court held

that a county acted in a regulatory capacity where it “did not impose its re-

striction during the bargaining process before the contract was signed” but

imposed “a series of demands … after the contract.” The point is that the

government acts with the force of law when it tries to unilaterally “enlarge

the contractual obligations that the parties voluntarily adopt,” Ginsberg, 572

U.S. at 276; see also id. at 289, and impose “binding standards of conduct that

operate irrespective of any private agreement,” Wolens, 513 U.S. at 229 n.5

(citation omitted). In contrast, where the government uses legislation to es-

tablish contractual expectations ex ante, it may act as a market participant.

See, e.g., Antilles Cement Corp. v. Fortuño, 670 F.3d 310, 330 (1st Cir. 2012).

      ii.   The second question is whether the government’s “primary goal

was to encourage a general policy” rather than solve “a specific proprietary

problem.” LAX, 873 F.3d at 1080 (citation omitted). Exercising police

power—a “distinctively governmental” move, ATA, 569 U.S. at 652—fails

the test. In Olympic Pipe Line, for example, this Court held that Seattle “was

acting as a regulator rather than a municipal proprietor” when it contractu-

ally required “safety oversight of a hazardous liquid pipeline within

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Seattle’s city boundaries.” 437 F.3d at 874, 881. The Court observed that “Se-

attle made the safety demands … pursuant to its general duty to protect the

public health and safety—a duty grounded in the City’s regulatory, police

power—rather than in an attempt to protect its role in the real estate mar-

ket.” Id. at 881.

      b.     This Court’s two-part framework is flawed. In LAX, the Court

held that Los Angeles acted as a market participant when it used a license

agreement to require airlines and airline service providers to adopt labor-

peace agreements with their unions. See 873 F.3d at 1077. The case did not

involve criminal or civil penalties. Under the first inquiry, the Court held

under that the challenged government actions were sufficiently similar to

private market behavior, relying in part on the notion that airports are com-

mercial enterprises. See id. at 1081-82. Under the second inquiry, the Court

found that the labor-peace provisions were not intended to promote the gen-

eral welfare. See id. at 1081-84.

      LAX is wrong in at least two respects. First, airports’ nature as public

goods is an important factor, as the Solicitor General explained in criticizing

LAX in certiorari-stage proceedings before the Supreme Court. Br. for the

United     States   as   Amicus     Curiae      22,   LAX,   No.   17-1183      (U.S.),

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https://tinyurl.com/3jksjrwc (OSG LAX Br.). Second, the second prong of

the LAX test is unsound because “the narrow scope of governmental action

can be an important consideration,” but it “is not the only relevant factor.”

Id. at 18. By allowing the inquiry to turn on scope alone, the LAX test may

“allow state and local governments to escape preemption of what are regu-

latory measures.” Id. at 23; see infra pp. 66-67.

      B.    The HAO has the force of law because it is backed by
            criminal penalties.

      One simple point should resolve this appeal: The HAO cannot be mar-

ket participation because violating the HAO is a misdemeanor. The district

court’s contrary ruling disregards the plain meaning of California law.

            1.     Under unambiguous California law, the HAO threatens
                   criminal penalties.

      The HAO cannot be market participation because violating the HAO

is a misdemeanor. California law states that “[v]iolation of a city” or county

“ordinance is a misdemeanor unless by ordinance it is made an infraction.”

Cal. Gov’t Code § 25132(a) (county); id. § 36900(a) (city). The HAO does not

make a violation an infraction, and a misdemeanor is a crime “punishable

by imprisonment in the county jail not exceeding six months, or by fine not

exceeding one thousand dollars ($1,000), or by both.” Cal. Penal Code § 19.


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Just like the ordinance in ATA, the HAO coerces compliance by “threat of

criminal sanctions.” 569 U.S. at 651. “Slice it or dice it any which way,” San

Francisco “acted with the ‘force of law’” in enacting the HAO. Id. at 652.

            2.    The district court’s reasoning is wrong.

      The City and district court alike ultimately recognized that if the HAO

is backed by criminal penalties, it has the force of law and is subject to

preemption. 1-ER-10; Dist. Ct. Doc. No. 44, at 5-6. Their response was that

§§ 25132(a) and 36900(a) do not mean what they say because their plain

meaning would produce “absurd results.” 1-ER-11; see Dist. Ct. Doc. No. 41,

at 27. That analysis is wrong.

      a.    The district court relied mainly on a single 1977 opinion from the

California Attorney General that rejected “a literal interpretation” of

§§ 25132(a) and 36900(a). MacMillen, 1977 WL 24859, at *4. In the Attorney

General’s view, the statutes “make[] the violation of a city or county ordi-

nance either a misdemeanor or an infraction only when the violation is

declared to be a misdemeanor or infraction by express ordinance language.”

Id. at *6. The opinion reasoned that “[i]t does not seem reasonable that the

Legislature … intended … to make the violation of every outstanding and

future county ordinance in California a criminal offense.” Id.


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      That reasoning fails. “When, as here, ‘statutory language is clear and

unambiguous there is no need for construction, and courts should not in-

dulge in it.’” California Fed. Sav. & Loan Ass’n v. City of Los Angeles, 902 P.2d

297, 300 (Cal. 1995) (citation omitted). Courts “may not, under the guise of

construction, rewrite the law or give the words an effect different from the

plain and direct import of the terms used.” Id. at 301. Indeed, the Supreme

“Court has explained many times over many years that, when the meaning

of the statute’s terms is plain, [a court’s] job is at an end.” Bostock v. Clayton

County, 140 S. Ct. 1731, 1749 (2020). Thus, California courts have repeatedly

rejected the Attorney General’s attempt to interpret statutes that are “clear

and unambiguous and … susceptible of only one interpretation, what it

says.” County of Fresno v. Clovis Unified Sch. Dist., 204 Cal. App. 3d 417, 429

(1988); see also, e.g., People v. Garth, 234 Cal. App. 3d 1797, 1800-01 (1991).

      The district court violated this bedrock principle. The statutes say that

violation of an ordinance “is a misdemeanor unless by ordinance it is made

an infraction.” Cal. Gov’t Code § 25132(a) (county) (emphasis added); id.

§ 36900(a) (city) (emphasis added). Those words are unambiguous, so the

“first step of the interpretive inquiry is [the] last.” Rotkiske v. Klemm, 140

S. Ct. 355, 360 (2019). Thus, as the California Supreme Court has put it, “the

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violation of a County ordinance is a misdemeanor” under § 25132(a). Great

W. Shows, Inc. v. County of Los Angeles, 44 P.3d 120, 132 (Cal. 2002); accord,

e.g., People v. Minor, 96 Cal. App. 4th 29, 39 (2002). Federal courts have un-

derstood the statutes the same way. See Sahab v. Baca, No. 11-7061, 2014 WL

102410, at *8 (C.D. Cal. Jan. 8, 2014).

      More recent Attorney General opinions also recognize that §§ 25132(a)

and 36900(a) mean what they say. At least two opinions have explained that

“a violation of a city ordinance is a misdemeanor unless by ordinance it is

made an infraction,” and that violations “may be made misdemeanors

simply by not making them infractions.” Honorable James F. Penman, 94 Ops.

Cal. Att’y Gen. 39, 2011 WL 6753986, at *2 (2011) (citing Cal. Gov’t Code

§ 25132(a)); accord Honorable James B. Lindholm, Jr., 63 Ops. Cal. Att’y Gen.

418, 1980 WL 96857, at *2 (1980). A third opinion noted that a proposed “or-

dinance would be subject to enforcement” under § 25132(a) as a

misdemeanor. Honorable Michael R. Capizzi, 74 Ops. Cal. Att’y. Gen. 211, 1991

WL 495486, at *2 & n.1 (1991).

      b.    The district court defended its reliance on MacMillen by reason-

ing that the California legislature later amended the statutes and “would




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have corrected the language if the Attorney General opinions misconstrued

the law.” 1-ER-12. That ratification reasoning fails for three reasons.

      First, and most importantly, when a statute’s meaning is plain, the in-

quiry begins and ends with the text. Rotkiske, 140 S. Ct. at 360. California

courts have said that “when the plain meaning of a statute is clear,” courts

“are not at liberty to consider extrinsic aids such as legislative history,” and

have examined Attorney General opinions only to show that they lead to the

same result—not to suggest that they can produce a different one. People v.

Miller, 23 Cal. App. 5th 973, 982-83 (2018); see also, e.g., People v. Gjersvold, 230

Cal. App. 4th 746, 750 (2014). Nor does California Association of Psychology

Providers v. Rank, 51 Cal. 3d 1, 12-13, 14-19 (1990) support the district court’s

reasoning. There, the court gave the “clear” statutory language its “[p]lain

[m]eaning” before discussing an Attorney General opinion in rejecting such

an end run around plain meaning. See id. Finally, County of San Diego v. State,

931 P.2d 312, 332-34 (1997), does not support the district court’s ruling either,

because the statute there “d[id] not define” the disputed term.

      Second, even assuming the Attorney General’s views are relevant, the

Attorney General abandoned MacMillen’s atextual construction after just

three years. See supra p. 42. California’s Legislative Counsel has rejected that

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reading, too, and there is no reason to give Legislative Counsel’s views less

weight than an outlier Attorney General opinion. Legislative Counsel’s sum-

maries “are entitled to great weight,” and “[i]t is reasonable to presume that

the Legislature amended those sections with the intent and meaning ex-

pressed in the Legislative Counsel’s digest.” Jones v. Lodge at Torrey Pines

P’ship, 177 P.3d 232, 240 (Cal. 2008) (citation omitted). Here, Legislative

Counsel summaries to amendments to §§ 25132(a) and 36900(a) have repeat-

edly explained that “[e]xisting law provides with respect to city and county

ordinances that the violation of an ordinance is a misdemeanor unless the

ordinance makes it an infraction.” 2003 Cal. Legis. Digest Ch. 60 (S.B. 567),

https://tinyurl.com/yu7djzph; accord 2018 Cal. Legis. Digest Ch. 970 (A.B.

2598), https://tinyurl.com/2p8bd6fm; 2021 Cal. Legis. Digest Ch. 307 (S.B.

60), https://tinyurl.com/2n3x5rfr. Beyond all that, the preamble to the 2017

amendment, by referring to “[w]here the violation would otherwise be an in-

fraction,” makes clear that ordinance violations are misdemeanors by

default. 2017 Cal. Legis. Digest Ch. 405 (A.B. 556), https://ti-

nyurl.com/25utfte8 (emphasis added).

     Finally, the district court’s notion that the legislature must respond to

an Attorney General opinion lest it become law turns the separation of

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powers on its head. Cf. Rotkiske, 140 S. Ct. at 360-61. The legislature does not

need to play Whac-A-Mole to prevent the Attorney General from adding

qualifications to unambiguous statutory text. And what would the legisla-

ture say, anyway? We said what we meant and we meant it? Statutory text

does not pick up a new meaning just because the legislature does “[n]othing”

to it. E.g., SCA Hygiene Prods. Aktiebolag v. First Quality Baby Prods., LLC, 137

S. Ct. 954, 966-67 (2017).

      c.    The district court also relied on First Resort, Inc. v. Herrera, 860

F.3d 1263 (9th Cir. 2017), and Prime Gas, Inc. v. City of Sacramento, 184 Cal.

App. 4th 697 (2010), for the proposition that “certain California ordinances

only provided for civil enforcement without criminal penalties.” 1-ER-13-14.

But neither decision held anything to that effect. Instead, those decisions

made that observation only in passing—and without even mentioning

§ 25132(a) or § 36900(a). Of course, “cases are not precedential for proposi-

tions not considered.” United States v. Pepe, 895 F.3d 679, 688 (9th Cir. 2018);

see California Bldg. Indus. Ass’n v. State Water Res. Control Bd., 4 Cal. 5th 1032,

1043 (2018).

      Decisions that have examined §§ 25132(a) and 36900(a), in contrast,

have read them to mean what they say. See, e.g., Minor, 96 Cal. App. 4th at

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39; Sahab, 2014 WL 102410, at *9. In Sahab, for instance, the court rejected a

challenge to convictions for violating a parking-lot-related ordinance under

the Los Angeles Municipal Code (LAMC), holding that both LAMC

§ 11.00(m) and § 36900(a) “explicitly and unambiguously” make all LAMC

violations misdemeanors. 2014 WL 102410, at *9. Rebuffing the habeas peti-

tioner’s argument that he was deprived of notice because “there is no

reference to criminal penalties” in the ordinance he violated, the court ex-

plained that § 36900(a) “makes any violation of a city ordinance a

misdemeanor unless by ordinance it is made an infraction.” Id. at *2, *8. The

court gave § 36900 and § 11.00(m) their “plain meaning,” rejecting the peti-

tioner’s argument that they would “lead to ‘preposterous’ results” as an

argument for the legislature. Id. at *9.

      The district court tried to distinguish Sahab because the LAMC “con-

tained a general provision”—§ 11.00(m)—“making any violation of the Code

a misdemeanor unless explicitly made an infraction.” 1-ER-13. That reason-

ing makes no sense. Section 11.00(m) means the same thing as § 36900(a), as

Sahab explained: a violation or failure to comply is “a misdemeanor unless

that violation or failure is declared in this Code to be an infraction.” 2014 WL

102410, at *5 (quoting LAMC § 11.00(m)). So if the local and state law

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provisions, with unambiguous parallel wording, mean the same thing, and

the local provision makes a violation a misdemeanor, then so does the state

provision.

      d.     In the end, the district court’s holding rests on the notion that

giving §§ 25132(a) and 36900(a) their plain meaning “would produce absurd

results” by making “every violation of any local ordinance … a misde-

meanor.” 1-ER-11-12. That reasoning fails.

      First, the court ignored the statutes’ language about infractions. The

statutes “create a default classification of misdemeanors for code violations.”

Minor, 96 Cal. App. 4th at 39 (emphasis added). All a locality has to do to

avoid misdemeanor treatment is say that a violation is an infraction. Plus,

§§ 25132(a) and 36900(a) provide that although a violation “may be prose-

cuted by county authorities,” it may also be “redressed by civil action.”

      Second, the district court’s notions about purpose did not license it to

ignore the statutes’ words. Again, “[t]he plain meaning of words in a statute

may be disregarded only when that meaning is repugnant to the general

purview of the act or for some other compelling reason.” People v. Leal, 94

P.3d 1071, 1076 (Cal. 2004) (citation and quotation marks omitted). The leg-

islature does not need to “set forth its reasons” for choosing certain

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language, and courts cannot “insert what has been omitted or omit what has

been inserted.” Id. at 1076-77 (citations omitted). Had the California legisla-

ture intended the district court’s reading, “it could easily have said so.” Id.

at 1077. The court’s job was not “to judge the wisdom of the Legislature’s

policy decisions.” People v. Giordano, 170 P.3d 623, 635 (Cal. 2007).

      C.    The HAO has the force and effect of law because it is backed
            by civil penalties.

      Criminal sanctions aside, the HAO is regulatory because it threatens

civil penalties. The HAO gives the City several tools available only to the

government to enforce the HAO, including the City Option itself, which im-

poses hourly fines on airlines without platinum plans. Most notably, no

private business can impose a discretionary fine like the $1,000-and-up daily

fine the Airport Director may levy. The district court’s contrary reasoning

brushed over the airlines’ refusal to agree to the HAO; disregarded the dis-

similarity between the HAO’s consequences and ordinary contract

remedies; and ignored the plain text of the HAO and San Francisco Admin-

istrative Code.




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               1.    The HAO is backed by civil penalties.

      The HAO is backed by several civil penalties unlike those available to

private contracting parties. The airlines never agreed to the HAO, and agree-

ment is the key component of any contract. Without an agreement, the

HAO’s consequences are civil penalties that only a government can impose

by fiat. What’s more, the HAO’s consequences go further than any private

party could even under in a contract.

      a.       As noted, if an employer fails to provide free platinum-level

healthcare benefits to employees and their dependents, the City may:

      •        charge the employer for amounts that should have been paid
               into a HAP account under the City Option;

      •        assess penalties of $100 per week per employee;

      •        cancel any contract the City has with the employer;

      •        bar the employer from entering into any future contract with the
               City for three years;

      •        institute a civil action against the employer; and,

      •        under the QSP, impose civil fines of $1,000 per employee per
               day, or an even higher amount “at the discretion of the Airport
               Director.”

Supra p. 15.




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      The airlines never agreed to those terms. Instead, the HAO simply im-

posed them. Indeed, the HAO expressly forbids waiver of its requirements

by collective-bargaining agreement, meaning that the contracting parties are

powerless to change it. 2-ER-72. Put another way, the City imposed obliga-

tions beyond those “that the parties voluntarily undertook,” Ginsberg, 572

U.S. at 285, 287, and that “operate irrespective of any … agreement,” Wolens,

513 U.S. at 229 n.5 (citation omitted). The HAO is regulatory because it “does

not authorize parties to free themselves” from its healthcare-benefits re-

quirements or consequences for noncompliance. Ginsberg, 572 U.S. at 287.

      b.    Lack of agreement aside, the HAO’s consequences for noncom-

pliance are also civil penalties because they go beyond the ordinary contract

remedies available to private parties.

      i.    Start with the provision in the QSP that allows fines of $1,000 per

employee per day for any violation—and “[s]uch fine amount may be in-

creased from time to time at the discretion of the Airport Director.” 4-ER-

505. Not only does the provision say that the amount is a “fine,” but it also

gives the Airport Director ostensibly unfettered discretion to assess that fine.

No contract provision can do that. Liquidated damages, for instance, must

be “fixed and certain by agreement.” Chodos v. West Publ’g Co., 292 F.3d 992,

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1002 (9th Cir. 2002) (citation omitted). The Airport Director’s discretion to

increase the amount means the amount is by definition not “fixed and cer-

tain by agreement.”

      ii.   The $100-per-employee-per-week penalties are not analogous to

liquidated damages, either. The amount of liquated damages needs to be

more than just “fixed and certain by agreement.” It also “‘must represent the

result of a reasonable endeavor by the parties to estimate a fair average com-

pensation for any loss that may be sustained.’ … In the absence of such

relationship, a contractual clause purporting to predetermine damages

‘must be construed as a penalty.’” Ridgley v. Topa Thrift & Loan Ass’n, 953

P.2d 484, 488 (Cal. 1998) (citation omitted). Of course, there was no such

agreement or relationship to provide employees and their families with free

platinum-level healthcare benefits. Nor was there any “reasonable endeavor

by the parties to estimate a fair average compensation for any loss that may

be sustained.” The amount is simply a unilateral declaration by the City,

which, for that matter, does not “sustain[]” “any loss.” And the amount is

not even a unilateral estimate. It applies no matter the consequences of the

breach. See S.F. Admin. Code § 12Q.5.1. For all these reasons, the term “must

be construed as a penalty.” Ridgley, 953 P.2d at 488 (citation omitted).

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      iii.   Debarment, too, goes too far. Although a private party could de-

cide not to contract with a breaching party the next time around, debarment

is a complete ban on working together for several years. See S.F. Admin.

Code § 28.11. Debarment is a civil penalty that makes government action

“regulation, not merely ‘market participation.’” Hydrostorage, 891 F.2d at 722,

730; accord Tri-M Group, 638 F.3d at 425.

      iv.    Finally, consider the City Option, which demands $9.50 per hour

per employee, for no consideration and without agreement. For the City Op-

tion not to be a penalty, it must provide airlines “with a true alternative

performance” to meeting the HAO’s platinum healthcare-benefits require-

ment. Grand Prospect Partners, L.P. v. Ross Dress for Less, Inc., 232 Cal. App.

4th 1332, 1358 (2015). An alternative must “provide[] a rational choice be-

tween two reasonable possibilities.” Id. The City Option does not.

      First, for airlines that wish to keep providing non-platinum plants—

including plans that their employees collectively bargained for—the City

Option is not an alternative but a duplicative penalty. The airlines must keep

providing existing benefits and pay money into the HAP.

      Second, the City does not dispute that the City Option is a civil penalty

if airline employees are not entitled to the money that airlines pay into the

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HAP accounts. After all, the City Option cannot be an alternative if it is not

set up to provide employees and their families with healthcare. The problem

is that the City’s Administrative Code permits only “Covered Employees”

to access money from HAP accounts, and SFO workers whose employers

pay into the HAP accounts are specifically excluded from the definition of

“Covered Employees.” Supra pp. 12-13. Indeed, the City admits that, under

the plain administrative text, airline employees cannot access HAP funds.

See Dist. Ct. Doc. No. 41, at 19.

      For all these reasons, the HAO is backed by civil penalties. Those pen-

alties are designed to coerce compliance with the HAO’s unilaterally

imposed terms. The HAO therefore has the force and effect of law.

            2.    The district court’s analysis was wrong.

      The City did not dispute, and the district court agreed, that “the use of

coercive mechanisms are not available to private parties constitute[s] regu-

latory action.” 1-ER-17-18. But the court thought the HAO’s provisions do

not contain civil penalties. That was error.

      a.    The district court first concluded that “A4A members voluntar-

ily agreed to [the HAO’s] requirements” when they signed the lease

extensions. 1-ER-18. But nowhere in the lease extensions did the airlines


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agree to be bound by the HAO. To the contrary, the parties reserved the air-

lines’ right to challenge the HAO:

      Neither the execution of this Modification by Airline or City, nor
      the performance by either party under the Existing [lease] or this
      Modification, shall in any way prejudice or constitute a waiver
      of: (a) Airline’s right to challenge the [HAO] or the validity or
      enforcement thereof, or (b) the rights of either party to fully
      prosecute or defend, as applicable, any lawsuit by the Airline
      against the City challenging the [HAO].

3-ER-221. Reading the lease extensions to provide that the airlines agreed to

the HAO not only inserts terms into the lease extensions, but it eviscerates

the Reservation of Rights. It “prejudice[s]” or “waive[s]” the airlines’ right

to challenge “the validity” of the HAO even though the reservation says that

the extension must not do that “in any way.”

      The district court seems to have thought that the airlines agreed to the

HAO “when they chose to extend their [lease extensions] for another two

years.” 1-ER-18. That was so, in the district court’s view, because the lease

extensions “include a provision where the contracting airlines agrees [sic] to

comply with the HCAO and its future amendments, e.g., the HAO.” 1-ER-

29. That reasoning fails.

      First, it is textually unsupportable, because even assuming the HAO is

simply an amendment to the HCAO, the reservation of rights expressly


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carved out the HAO. The district court’s reading nullifies the lease exten-

sions’ specific provision carving out the HAO.

      Second, although the airlines agreed to be bound by the HCAO as it

“may be amended from time to time,” the HAO did not simply “amend” the

HCAO. 1-ER-5 (citation omitted). It completely rewrote the HAO, selectively

targeting just airlines and airline service providers. Before the HAO, the

HCAO was a uniform healthcare law that applied to all parties entering into

certain contracts with the City. 1-ER-4-5. Thus, any change to the HCAO

would apply to all such counterparties. That was an important political

check on the City’s ability to target any particular parties without broad buy-

in. But the HAO targets just the airlines, leaving every other City counter-

party untouched.

      Third, viewing the HAO’s onerous changes as a mere amendment is

not reasonable. The HAO imposes novel healthcare requirements, with the

City Option costing more than the federal minimum wage. The benefits re-

quirements thus dramatically interfere with airlines and airline service

providers’ relationship with their employees and the cost of those employ-

ees. And there is no out—unlike the HCAO, the HAO cannot be waived by

collective-bargaining agreement.

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      Finally, as a matter of basic contract law, the HAO exceeds the scope of

what the airlines could have agreed to. If the original 2010 agreements’ lan-

guage agreeing to HCAO amendments reaches the HAO, then those

agreements are fatally indefinite. See Badie v. Bank of Am., 67 Cal. App. 4th

779, 791, 795-96 (1998). Any such “amendment” would fail for lack of con-

sideration. See Krobitzsch v. Middleton, 72 Cal. App. 2d 804, 808 (1946).

      b.    The district court also thought the HAO’s consequences for non-

compliance “are functionally equivalent to ordinary commercial contract

terms wherein contract parties may agree to certain consequences for

breach.” 1-ER-18. In particular, the court thought that the $100-per-week and

$1,000-plus-at-the-Airport-Director’s-discretion provisions are analogous to

liquidated damages because they are “contractually based” and represent “a

reasonable estimate of the harm that would be caused by violations of the

HCAO.” 1-ER-21-22. According to the court, “[t]he City and the airlines were

free to argue that imposing liquidated damages would be reasonable or

unreasonable, just as parties to private commercial contracts with similar

terms are free to do so.” 1-ER-22. That reasoning fails.

      First, as discussed, the HAO’s terms are not contractually based just

because violations of the novel HAO trigger the same consequences as

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violations of other ordinances (like the HCAO) to which the airlines did agree.

Second, that very reasoning—that the HCAO’s $100-per-week and the

$1,000-plus-at-the-Airport-Director’s-discretion provisions simply carry

over to the HAO—proves why those provisions do not provide reasonable

estimates of harm. If those sums are reasonable estimates of harm for violat-

ing a different ordinance, what makes them reasonable estimates of the harm

from violating from the HAO’s new requirements? The answer is that they’re

not estimates, much less bilateral ones—and the City has presented no evi-

dence that they are. Finally, it is unclear why the court thought that the

airlines could simply argue that those provisions were unenforceable, since

they do not purport to be contract terms (to which contract principles would

apply). To the contrary, San Francisco law purports to give the City the

power to pursue those fines outside of a contract action and, at least in the

first instance, even outside of court. S.F. Admin. Code § 12Q.5.2. “Only the

government can create and administer such a system.” Friends of the Eel River,

399 P.3d at 76.

      c.    Finally, the district court thought the City Option is not a penalty

because it provides an alternative to the platinum plans the HAO otherwise

requires. 1-ER-19-21. But the district court (like the City) recognized that

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“A4A is correct under the literal interpretation” of the HAO and the San

Francisco Administrative Code that airline employees cannot access City

Employee funds. No matter, said the District Court, because the City has

chosen to make payments to airline employees anyway. See 1-ER-21. That

was error. Whether a law is preempted does not turn on how the locality

voluntarily chooses to enforce it. Indeed, in ATA, the Supreme Court held

that the Port of Los Angeles’ requirements were preempted based on “the

threat of criminal punishment.” 569 U.S. at 644, 650 (emphasis added). The

Court mentioned nothing about any prior prosecution and observed that

“the Port has never suspended or revoked a trucking company’s license to

operate at the Port for a prior violation of one of the contract provisions.” Id.

at 646; see also Air Evac EMS, Inc. v. Cheatham, 910 F.3d 751, 769 (4th Cir. 2018).

      D.    Criminal and civil penalties aside, the HAO has the force and
            effect of law because it is uniquely governmental.

      When the government backs its demands with criminal or civil sanc-

tions, its action is regulatory and the market-participation inquiry ends. But

even where the government does not use criminal or civil penalties, it still

must prove that its action is not regulatory. Johnson, 623 F.3d at 1024. The

first question is whether “the challenged action” is “undertaken in pursuit



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of the efficient procurement of needed goods and services, as one might ex-

pect of a private business in the same situation.” LAX, 873 F.3d at 1080

(citation and quotation marks omitted). The test thus looks to both the means

the government uses and the end it pursues. The second question is whether

“the narrow scope of the challenged action defeat[s] an inference that its pri-

mary goal was to encourage a general policy rather than [to] address a

specific proprietary problem.” Id. (citation omitted). Here, the answer to

both these questions is “no.”

            1.    The City fails prong 1 of the LAX test because it used
                  tools available only to the government and did not
                  pursue a proprietary interest in enacting the HAO.

      a.    Means. In enacting the HAO, the City did something only a gov-

ernment could: it used legislation to unilaterally impose requirements to

which the contracting parties did not agree. As the Eleventh Circuit ex-

plained in GSW, the government acts as a regulator when, for instance, it

imposes a restriction not agreed to during the “bargaining process.” 999 F.2d

at 1514. Here, the City imposed the HAO on unwilling airlines purporting

to “enlarge the contractual obligations that the parties voluntarily

adopt[ed].” Ginsberg, 572 U.S. at 276. No private party has that power, which




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exceeds what “one might expect of a private business in the same situation.”

LAX, 873 F.3d at 1080.

      The City acted unlike a contracting party in other ways, too. When the

City negotiates leases with airlines, it works through the Commission, the

entity that operates SFO. But with the HAO, the Commission had “no au-

thority” and played “no role.” Supra pp. 9-10; 2-ER-89, 2-ER-107.

      The district court tried to distinguish GSW on the ground that the lease

extensions “include[d] a provision where the contracting airlines agree[d] to

comply with the HCAO and its future amendments, e.g., the HAO.” 1-ER-

29. But as explained, the airlines did not agree to comply with the HAO and

instead reserved their right to challenge it. Supra pp. 16-17, 53-56. In sum, the

City fails the first prong of the LAX test because it acted like a regulator, not

a private business.

      b.    Ends. The HAO also fails the first prong of the LAX test because

the City did not pursue a proprietary purpose in enacting it. The HAO

amendment stresses that, “[i]n undertaking the adoption and enforcement

of this ordinance, the City is undertaking only to promote the general welfare.”

2-ER-140 (emphasis added). And the HAO explains that it seeks to address

“escalating health care costs” and to ensure that “people of color” and those

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belonging to “racial and ethnic minority groups” who have been “dispro-

portionately impacted by COVID-19” can access affordable healthcare. 2-ER-

64-65. Pursuing the “general welfare” is an objective “grounded in the [gov-

ernment’s] regulatory, police power.” Olympic Pipe Line, 437 F.3d at 881. The

HAO pursues a particular “labor policy,” not “the efficient procurement of

goods and services.” Tri-M Group, 638 F.3d at 422 (quoting Brown, 554 U.S.

at 70). The record makes that clear as a practical matter, too. Although the

Airport and the Commission did not have authority to impose the HAO and

the Airport Director did not believe it was “the right time” for the HAO, 2-

ER-99, the Board enacted it anyway.

      The district court reasoned that the City “enacted the HAO to increase

the safety and efficiency of the Airport by expanding access to health bene-

fits to reduce employee turnover” and “to restore public confidence in the

safety of air travel.” 1-ER-30. But that reasoning fails for three reasons. First,

those purposes are not proprietary in the first place. Airport safety is a gov-

ernmental     objective—just     look    at    the   Transportation      Security

Administration. See supra pp. 36-38. Second, there is no evidence in the record

to carry the City’s burden to show that the City enacted the HAO to advance

those purposes. Contrary to the district court’s reasoning, see 1-ER-32-33, the

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problem is not one of subjective motivation. The problem is that there is no

evidence that the HAO will advance the proclaimed purposes. All the record

shows is that union lawyers, likely aware of the market-participation doc-

trine, wrote the HAO and its findings. Supra pp. 13-14. If all it took were

lawyers’ assertions to nullify federal preemption, then the market-participa-

tion test would let local governments get away with the very kind of

behavior the RLA proscribes. The RLA preempts labor’s efforts “not to bar-

gain with employers, but instead, to seek to set minimum wage and benefit

packages with political bodies.” Chamber of Com. of U.S. v. Bragdon, 64 F.3d

497, 504 (9th Cir. 1995). That is exactly what the unions did here.

      Third, the notion that the HAO will “restore public confidence in the

safety of air travel” is not even rational. Passengers might be concerned about

COVID-19, but that does not mean they pick airports based on whether air-

line employees have employer-paid health benefits. But they might want to

know that airport employees are vaccinated and are adequately sanitizing

the airplanes, or that concession workers are not sneezing the virus into their

food. But the HAO does not do anything on those fronts. The only logical

inference is that restoring public confidence in the safety of air travel “is not

the objective” of the HAO. Brown, 554 U.S. at 70.

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            2.    The City fails prong 2 of the LAX test because the HAO
                  is not tailored to a proprietary purpose.

      The HAO also fails the second prong of the LAX test because the HAO

is not tailored to a proprietary purpose. The HAO is both underinclusive—

because it does not protect all employees working at the airport—and over-

inclusive—because it has national impact.

      a.    One sign of “pretext” is a “mismatch” between the asserted pur-

poses and the challenged action. Metropolitan Milwaukee Ass’n of Com. v.

Milwaukee County, 431 F.3d 277, 281-82 (7th Cir. 2005). In Brown, for instance,

the Supreme Court cited a California statute’s underinclusiveness as a rea-

son for holding that California acted as a regulator rather than a market

participant. See 554 U.S. at 71. “Instead of forbidding the use of state funds

for all employer advocacy regarding unionization,” the Court explained, the

challenged law “permit[ted] use of state funds for select employer advocacy

activities that promote unions.” Id.

      The HAO is both underinclusive and overinclusive. It leaves many air-

port-based workers uncovered, from concessionaries to police officers and

firefighters, even though those employees interact with passengers and per-

form key safety and security functions. Supra pp. 13-14. Yet it



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simultaneously applies to workers whose primary duties do not involve in-

teracting with the public, like mechanics and baggage handlers. The

mismatch here is not just poor business judgment. It is a sign of regulation.

      According to the district court, the LAX “inquiry addresses ‘[c]oncerns

about overbreadth,’ not underinclusiveness.” 1-ER-36 (quoting LAX, 873

F.3d at 1084). But that is the kind of cramped thinking that prompted the

Solicitor General to call the Ninth Circuit’s analysis “flawed,” OSG LAX Br.

18, as discussed below (at 66-67). Brown makes clear that lack of uniformity

can help ferret out pretext, and the HAO does not apply uniformly because

it is both under- and overinclusive.

      b.    Another sign that a challenged action exceeds any proprietary

interests is that it targets private contracts rather than the contract with the

government. The market-participation “doctrine is not carte blanche to im-

pose any conditions that the State has the economic power to dictate, and

does not validate any requirement merely because the State imposes it upon

someone with whom it is in contractual privity.” Wunnicke, 467 U.S. at 97

(plurality opinion). Thus, the Supreme Court rejected a market-participation

argument where the challenged action “addressed employer conduct unre-

lated to the employer’s performance of contractual obligations to the State.”

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Building & Constr. Trades Council of Metro. Dist. v. Associated Builders & Con-

tractors of Mass./R.I., Inc., 507 U.S. 218, 228-29 (1993) (discussing Wisconsin

Dep’t of Indus., Lab. & Hum. Rels. v. Gould Inc., 475 U.S. 282, 289-91 (1986)).

Similarly, “a state does not act within the market participant exception when

its actions significantly affect markets other than the market in which it is a

participant by imposing conditions on parties with whom it contracts.”

United Healthcare Ins. Co. v. Davis, 602 F.3d 618, 625 (5th Cir. 2010); see also

Tri-M Group, 638 F.3d at 422; GSW, 999 F.2d at 1513.

      The HAO fails that metric. It regulates airlines’ and airline service pro-

viders’ relationships with their employees and thus should require a more

substantial justification. See OSG LAX Br. 19. But for the reasons explained,

there is no such justification. And the HAO does not just affect third-party

employees who work at SFO. It also affects airline employees with no con-

nection to SFO. If forced to fully cover healthcare costs for their employees

at SFO, airlines likely will be less able to defray the costs of healthcare for

their workers at other airports, who may thus need to pay more for their

premiums. That is a “spillover effect on private labor relations” between air-

lines and employees nationwide, and it confirms that the City’s invocation




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of proprietary interests is “pretext.” Metropolitan Milwaukee Ass’n, 431 F.3d

at 279, 282.

               3.   The LAX test is flawed, as the Solicitor General has
                    explained, and the HAO also has the force and effect of
                    law under the correct test.

      Although the HAO is regulatory even under LAX, the LAX test is

“flawed.” OSG LAX Br. 18. First, the “narrow scope” inquiry is misguided,

because although scope is “can be an important consideration,” it “ is not the

only relevant factor.” Id. By allowing the government to establish market

participation based on scope alone, the LAX test “could allow state and local

governments to escape preemption of what are regulatory measures.” Id. at

23. Here, assuming the HAO is narrowly limited to SFO, that scope does not

show that the HAO is market participation. To the contrary, the HAO has

the force and effect of law because it imposes binding requirements by fiat.

      Second, the LAX test discounts important circumstances that should in-

form “the ultimate inquiry” into “whether the government’s conduct is

proprietary or regulatory.” Id. at 18. A key factor here is the public nature of

airports, which the LAX test dismisses as irrelevant. See id. at 19-23. But the

parties agree that all international airports in the United States are publicly

owned, 2-ER-166, so running an international airport inherently means


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doing something only a government can do. The City’s government-only

powers over SFO drive the point home. Selevan v. New York Thruway Auth.,

584 F.3d 82, 93-94 (2d Cir. 2009) (rejecting market-participant argument by

New York Throughway Authority (NYTA) as to its policy over toll roads

because, “[u]nlike a private actor,” the NYTA had governmental powers like

eminent domain). For instance, the City can use (and has used) eminent do-

main to secure land for SFO. 2-ER-166, 2-ER-174. And divisions of both the

San Francisco Police Department and the San Francisco Fire Department

protect SFO. These are all classic government functions.

                                   *     *      *

     “Slice it or dice it any which way,” the HAO has the “force of law.”

ATA, 569 U.S. at 652. Although San Francisco may claim that it will enforce

the HAO only in administrative proceedings or “by civil action,” Cal. Gov’t

Code §§ 25132(a), 36900(a), California law unambiguously makes a violation

of the HAO a misdemeanor. What’s more, the HAO imposes civil penalties

available only to the government, including the discretion to impose fines of

$1,000 per day or more. No private contracting party has such powers. And

even leaving criminal and civil penalties aside, no private party has the

power to demand compliance with its requirements by fiat.

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                                CONCLUSION

      The Court should reverse the judgment of the district court and re-

mand for further proceedings.



Dated: September 12, 2022                Respectfully submitted,

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      I hereby certify that on September 12, 2022, I electronically filed this

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                                 ADDENDUM

29 U.S.C. § 1144. Other laws

(a) Supersedure; effective date

      Except as provided in subsection (b) of this section, the provisions of

this subchapter and subchapter III shall supersede any and all State laws

insofar as they may now or hereafter relate to any employee benefit plan

described in section 1003(a) of this title and not exempt under section 1003(b)

of this title. This section shall take effect on January 1, 1975.

…

49 U.S.C. § 41713. Preemption of authority over prices, routes, and service

      (a) DEFINITION.—In this section, “State” means a State, the District of

Columbia, and a territory or possession of the United States.

      (b) PREEMPTION.—(1) Except as provided in this subsection, a State, po-

litical subdivision of a State, or political authority of at least 2 States may not

enact or enforce a law, regulation, or other provision having the force and

effect of law related to a price, route, or service of an air carrier that may

provide air transportation under this subpart.

      (2) Paragraphs (1) and (4) of this subsection do not apply to air trans-

portation provided entirely in Alaska unless the transportation is air


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transportation (except charter air transportation) provided under a certifi-

cate issued under section 41102 of this title.

      (3) This subsection does not limit a State, political subdivision of a

State, or political authority of at least 2 States that owns or operates an air-

port served by an air carrier holding a certificate issued by the Secretary of

Transportation from carrying out its proprietary powers and rights.

      (4) TRANSPORTATION BY AIR CARRIER OR CARRIER AFFILIATED WITH A DI-

RECT AIR CARRIER.—


         (A) GENERAL RULE.—Except as provided in subparagraph (B), a

      State, political subdivision of a State, or political authority of 2 or more

      States may not enact or enforce a law, regulation, or other provision

      having the force and effect of law related to a price, route, or service of

      an air carrier or carrier affiliated with a direct air carrier through com-

      mon controlling ownership when such carrier is transporting property

      by aircraft or by motor vehicle (whether or not such property has had

      or will have a prior or subsequent air movement).

         (B) Matters not covered.— Subparagraph (A)—

            (i) shall not restrict the safety regulatory authority of a State with

         respect to motor vehicles, the authority of a State to impose

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         highway route controls or limitations based on the size or weight of

         the motor vehicle or the hazardous nature of the cargo, or the au-

         thority of a State to regulate motor carriers with regard to minimum

         amounts of financial responsibility relating to insurance require-

         ments and self-insurance authorization; and

              (ii) does not apply to the transportation of household goods, as

         defined in section 13102 of this title.

         (C) APPLICABILITY OF PARAGRAPH (1).—This paragraph shall not

      limit the applicability of paragraph (1).



Cal. Gov’t Code § 25132. Misdemeanor; violation reduced to infraction by
ordinance; prosecution; fines for infractions; hardship waivers

      (a) Violation of a county ordinance is a misdemeanor unless by ordi-

nance it is made an infraction. The violation of a county ordinance may be

prosecuted by county authorities in the name of the people of the State of

California, or redressed by civil action.

      (b) Every violation that is an infraction is punishable by the following:

         (1) A fine not exceeding one hundred dollars ($100) for a first viola-

      tion.



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         (2) A fine not exceeding two hundred dollars ($200) for a second

      violation of the same ordinance within one year of the first violation.

         (3) A fine not exceeding five hundred dollars ($500) for each addi-

      tional violation of the same ordinance within one year of the first

      violation.

      (c) Notwithstanding any other law, a violation of local building and

safety codes that is an infraction is punishable by the following:

         (1) A fine not exceeding one hundred thirty dollars ($130) for a first

      violation.

         (2) A fine not exceeding seven hundred dollars ($700) for a second

      violation of the same ordinance within one year of the first violation.

         (3)(A) A fine not exceeding one thousand three hundred dollars

      ($1,300) for each additional violation of the same ordinance within one

      year of the first violation.

            (B) A fine not exceeding two thousand five hundred dollars

         ($2,500) for each additional violation of the same ordinance within

         two years of the first violation if the property is a commercial prop-

         erty that has an existing building at the time of the violation and the




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        violation is due to failure by the owner to remove visible refuse or

        failure to prohibit unauthorized use of the property.

     (d)(1) Notwithstanding any other law, including subdivisions (b), (c),

and (e), a violation of an event permit requirement that is an infraction is

punishable by the following:

        (A) A fine not exceeding one hundred fifty dollars ($150) for the first

     violation of an event permit requirement.

        (B) A fine not exceeding seven hundred dollars ($700) for a second

     occurrence of the same violation of an event permit requirement by the

     same owner or operator within three years of the first violation.

        (C) A fine not exceeding two thousand five hundred dollars ($2,500)

     for each additional occurrence of the same violation of an event permit

     requirement by the same owner or operator within three years of the

     first violation.

        (2)(A) For purposes of this subdivision, “violation of an event per-

     mit requirement” means failure to obtain a permit required for a

     professionally organized special event on private property that is com-

     mercial in nature, or from which the owner or operator derives a

     commercial benefit.

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            (B) For purposes of this paragraph, the following definitions ap-

         ply:

                (i) “Commercial in nature” means that a primary purpose of

            the special event is to derive an economic benefit resulting from

            the holding of the event through admission charges or sales of

            merchandise that occur as part of the event.

                (ii) “Commercial benefit” means any remuneration received

            in exchange for allowing the property upon which the event oc-

            curs to be used for the event, including any remuneration that

            results from the rental of the property for a term of less than 31

            consecutive days.

      (e)(1) Notwithstanding any other law, including subdivisions (b), (c),

and (d), the violation of a short-term rental ordinance that is an infraction is

punishable by the following:

            (A) A fine not exceeding one thousand five hundred dollars

         ($1,500) for a first violation.

            (B) fine not exceeding three thousand dollars ($3,000) for a sec-

         ond violation of the same ordinance within one year.




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      (C) A fine not exceeding five thousand dollars ($5,000) for each

   additional violation of the same ordinance within one year of the

   first violation.

   (2) For purposes of this section, “short-term rental” means a resi-

dential dwelling, or any portion of a residential dwelling, that is rented

to a person or persons for 30 consecutive days or less.

   (3) For purposes of this section, “residential dwelling” means a pri-

vate structure designed and available, pursuant to applicable law, for

use and occupancy as a residence by one or more individuals. “Resi-

dential dwelling” does not include a commercially operated hotel,

motel, bed and breakfast inn, or time-share property as defined by sub-

division (aa) of Section 11212 of the Business and Professions Code.

   (4) The fine limits set by this subdivision apply only to infractions

that pose a threat to public health or safety. The fines described in this

subdivision shall not apply to a first time offense of failure to register

or pay a business license fee. Nothing in this subdivision limits the au-

thority of a county, or city and county, to establish lower fines for

specific violations by ordinance.




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      (f) A county levying a fine pursuant to paragraphs (2) and (3) of sub-

divisions (b) and (c), and paragraph (1) of subdivision (e), shall establish a

process for granting a hardship waiver to reduce the amount of the fine upon

a showing by a responsible party that the responsible party has made a bona

fide effort to comply after the first violation, and that payment of the full

amount of the fine would impose an undue financial burden on the respon-

sible party.



Cal. Gov’t Code § 36900. Violation; offense; prosecution; action; penalty;
hardship waivers

      (a) Violation of a city ordinance is a misdemeanor unless by ordinance

it is made an infraction. The violation of a city ordinance may be prosecuted

by city authorities in the name of the people of the State of California, or

redressed by civil action.

      (b) Every violation determined to be an infraction is punishable by the

following:

         (1) A fine not exceeding one hundred dollars ($100) for a first viola-

      tion.




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        (2) A fine not exceeding two hundred dollars ($200) for a second

     violation of the same ordinance within one year.

        (3) A fine not exceeding five hundred dollars ($500) for each addi-

     tional violation of the same ordinance within one year.

     (c) Notwithstanding any other law, a violation of local building and

safety codes determined to be an infraction is punishable by the following:

        (1) A fine not exceeding one hundred thirty dollars ($130) for a first

     violation.

        (2) A fine not exceeding seven hundred dollars ($700) for a second

     violation of the same ordinance within one year.

        (3)(A) A fine not exceeding one thousand three hundred dollars

     ($1,300) for each additional violation of the same ordinance within one

     year of the first violation.

            (B) A fine not exceeding two thousand five hundred dollars

        ($2,500) for each additional violation of the same ordinance within

        two years of the first violation if the property is a commercial prop-

        erty that has an existing building at the time of the violation and the

        violation is due to failure by the owner to remove visible refuse or

        failure to prohibit unauthorized use of the property.

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      (d)(1) Notwithstanding any other law, including subdivisions (b) and

(c), the violation of a short-term rental ordinance that is an infraction is pun-

ishable by the following:

            (A) A fine not exceeding one thousand five hundred dollars

         ($1,500) for a first violation.

            (B) A fine not exceeding three thousand dollars ($3,000) for a sec-

         ond violation of the same ordinance within one year.

            (C) A fine not exceeding five thousand dollars ($5,000) for each

         additional violation of the same ordinance within one year of the

         first violation.

         (2) For purposes of this section, “short-term rental” means a resi-

      dential dwelling, or any portion of a residential dwelling, that is rented

      to a person or persons for 30 consecutive days or less.

         (3) For purposes of this section, “residential dwelling” means a pri-

      vate structure that is designed and available, pursuant to applicable

      law, for use and occupancy by one or more individuals. “Residential

      dwelling” does not include a commercially operated hotel, motel, bed

      and breakfast inn, or a time-share property as defined by subdivision

      (aa) of Section 11212 of the Business and Professions Code.

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           (4) The fine limits set by this subdivision apply only to infractions

        that pose a threat to public health or safety. The fines described in this

        subdivision shall not apply to a first time offense of failure to register

        or pay a business license fee. Nothing in this subdivision limits the au-

        thority of a city, or city and county, to establish lower fines for specific

        violations by ordinance.

        (e) A city levying a fine pursuant to paragraphs (2) and (3) of subdivi-

sions (b) and (c), and paragraph (1) of subdivision (d), shall establish a

process for granting a hardship waiver to reduce the amount of the fine upon

a showing by the responsible party that the responsible party has made a

bona fide effort to comply after the first violation and that payment of the

full amount of the fine would impose an undue financial burden on the re-

sponsible party.



S.F. Admin. Code § 12Q2.16. San Francisco Airport Service Employees.

         “San Francisco Airport Service Employees” shall mean Employees

who are covered employees under the Quality Standards Program adopted

by the San Francisco Airport Commission, as may be amended from time to

time.


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S.F. Admin. Code § 12Q.3. Health Care Accountability Components.

     (a) Except as provided in subsection (d), with respect to each Covered

Employee who either resides in San Francisco (regardless of where the Cov-

ered Employee provides services) or provides services covered by this

Chapter 12Q in San Francisco, each Contracting Party shall do one of the

following, at the Contracting Party’s option:

        (1) Offer to the Covered Employee health plan benefits that meet

     minimum standards prepared by the Health Director and approved

     by the Health Commission. The minimum standards shall provide for

     a maximum period for each Covered Employee’s health benefits to be-

     come effective, no later than the first of the month that begins after 30

     days from the start of employment on a covered Contract, Subcontract,

     Lease or Sublease. The Health Commission shall review such stand-

     ards at least once every two years to ensure that the standards stay

     current with State and Federal regulations and existing health benefits

     practices; or

        (2) For each Week in which the Covered Employee works the ap-

     plicable minimum number of hours set forth in Section 12Q.2.9(a)


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(definition of “Covered Employee”), pay to the City $2.80 per hour for

each hour the Covered Employee is employed by the Contracting

Party on the Contract or Subcontract or on property covered by a

Lease, but not to exceed $112 in any Week. The City shall appropriate

money received pursuant to this Subsection (a)(2) for the use of the

Department of Public Health. The Department of Public Health shall

use the monies appropriated for staffing and other resources to pro-

vide medical care for the uninsured. Beginning with fiscal year 2009-

2010, and each following year, the Health Director shall propose ad-

justments to the hourly rate and weekly maximum fee provided in this

Section, based on changes since the prior year in the Bureau of Labor

Statistics Consumer Price Index for Medical Care in the San Francisco

Bay Area or average Health Maintenance Organization (HMO) premi-

ums in California. The Health Director shall submit the proposed

adjustments to the Controller by March 1. The Controller shall make

appropriate adjustments to the hourly rate and weekly maximum fee

without further action by the Board of Supervisors. The adjusted

hourly rate and weekly maximum fee shall take effect on July 1.




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   (3) Participate in a health benefits program developed by the

Health Director in consultation with the Agency. The Health Director

shall obtain Health Commission approval of the program before im-

plementing it. The Health Director shall seek such approval within

twelve (12) months after this Chapter is finally approved. Prior to im-

plementation of the health benefits program provided in this

Subsection (a)(3), each Contracting Party shall comply with Subsection

(a)(1) or (a)(2). After the Health Director implements the program, in

addition to the options provided in Subsections (a)(1) and (a)(2), Con-

tracting Parties may satisfy their obligations under this Chapter by

complying with the requirements of the health benefits program. In

developing the program, the Health Director shall (i) attempt to make

health coverage available for uninsured Covered Employees and, if

feasible, any other person employed by a Contracting Party who

works less than 20 hours per week on a City contract, or other unin-

sured City residents; (ii) use public health facilities to the maximum

extent practicable; (iii) make the program economically viable; and

(iv) provide a mechanism for funding which relies, as much as possi-

ble, on contributions by participating employers and employees.

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       (b) Except as provided in subsection (d), with respect to each Cov-

ered Employee who does not reside in San Francisco, but who provides

services covered by this Chapter 12Q at the San Francisco Airport or at the

San Bruno Jail, each Contracting Party shall do one of the options set forth

in subsection (a), at the Contracting Party’s option.

       (c) With respect to each Covered Employee who does not reside in

San Francisco, and does not provide services covered by this Chapter in San

Francisco, at the San Francisco Airport or at the San Bruno Jail, each Con-

tracting Party shall do one of the following, at the Contracting Party's option:

           (1) Offer to the Covered Employee health plan benefits that meet

      minimum standards prepared by the Health Director and approved

      by the Health Commission pursuant to Subsection 12Q.3(a)(1) above;

      or

           (2) For each Week in which the Covered Employee works the ap-

      plicable minimum number of hours set forth in Section 12Q.2.9(a)

      (definition of “Covered Employee”), pay to the Covered Employee an

      additional $2.80 per hour for each hour the Covered Employee is em-

      ployed by the Contracting Party on the Contract or Subcontract or on

      property covered by a Lease, but not to exceed $112 in any Week, to

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      enable the employee to obtain health insurance coverage. This repre-

      sents the City’s current estimate of the average cost of obtaining

      individual health insurance benefits. Beginning with fiscal year 2009-

      2010, and each following year, the Health Director shall propose ad-

      justments to the hourly rate and weekly maximum fee provided in this

      Section, based on changes since the prior year in the Bureau of Labor

      Statistics Consumer Price Index for Medical Care in the San Francisco

      Bay Area or average Health Maintenance Organization (HMO) premi-

      ums in California. The Health Director shall submit the proposed

      adjustments to the Controller by March 1. The Controller shall make

      appropriate adjustments to the hourly rate and weekly maximum fee

      without further action by the Board of Supervisors. The adjusted

      hourly rate and weekly maximum fee shall take effect on July 1.

       (d) With respect to each Covered Employee who is a San Francisco

Airport Service Employee, each Contracting Party shall do one of the follow-

ing, at the Contracting Party’s option:

         (1) Offer health plan benefits to the Covered Employee and the

      Covered Employee’s dependents, with the following features:




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       (A) The health benefits shall include at least one plan that is

   offered at no cost to the Covered Employee, provides a level of cov-

   erage that is designed to provide benefits that are actuarially

   equivalent to at least 90% of the full actuarial value of the benefits

   provided under the plan, and provides coverage for all services de-

   scribed in the California Essential Health Benefit Benchmark Plan.

      (B) A Contracting Party may offer additional health benefit

   plans, provided that each such health benefit plan offered shall pro-

   vide a level of coverage that is designed to provide benefits that are

   actuarially equivalent to at least 80% of the full actuarial value of

   the benefits provided under the plan and to provide coverage for

   all services as described in the California Essential Health Benefit

   Benchmark Plan. If the premium costs of such additional health

   benefit plan are greater than the premium costs of a plan offered

   under subsection (d)(1)(A), a Covered Employee electing such a

   health benefit plan may be required to pay a portion of the premium

   costs. The Covered Employee’s premium cost share shall be limited

   to not more than the difference between the premium costs of the

   most expensive plan offered under subsection (d)(1)(A) and the

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   premium costs of the health benefit plan that the Covered Employee

   elects under this subsection (d)(1)(B).

      (C) The maximum period for each Covered Employee’s health

   benefits to become effective shall be no later than the first day of the

   first month after 30 days from the start of employment as a San

   Francisco Airport Service Employee; provided, however, that if a

   Contracting Party elects to make monthly contributions for a Cov-

   ered Employee pursuant to subsection (d)(2), health benefits shall

   become effective no later than the first day after the Contracting

   Party ceases making such contributions.

      (D) The Covered Employee’s health benefits shall, at a mini-

   mum, cover the Covered Employee, the Covered Employee’s

   spouse or registered domestic partner, and the Covered Employee’s

   child, which shall include any legally adopted child, recognized

   natural child, stepchild, foster child, and minor legal ward. Cover-

   age for a child must be made available until the child reaches the

   age of 26, in accordance with 42 U.S.C. § 300gg-14(a), as may be

   amended from time to time.




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      (E) Notwithstanding the Operative Date of Ordinance No. 235-

   20, if a Contracting Party elects to comply with Section 12Q.3(d) by

   providing health benefits under subsection (d)(1), such health ben-

   efits shall not be required to be in effect prior to April 1, 2021.

   (2) For each Week in which the Covered Employee works any

hours as a San Francisco Airport Service Employee, make contribu-

tions for that Employee as specified below into an account established

under Section 14.2 of the Administrative Code, as may be amended

from time to time.

      (A) Contributions made pursuant to this subsection (d)(2) shall

   be $9.50 per hour, but not to exceed $380 in any Week, as of the

   operative date of the ordinance in Board File No. 201133, establish-

   ing this subsection.

      (B) Beginning with fiscal year 2022-2023, and for each following

   fiscal year, the Director of Health shall propose adjustments to the

   hourly rate and weekly maximum fee provided in this subsection

   (d)(2), based on changes since the prior year in the Bureau of Labor

   Statistics Consumer Price Index for Medical Care in the San Fran-

   cisco Bay Area or in average Health Maintenance Organization

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        premiums in California. The Health Director shall submit the pro-

        posed adjustments, together with proposed adjustments under

        Section 12Q.3(a)(2), to the Controller by March 1. The Controller

        shall make appropriate adjustments to the hourly rate and weekly

        maximum fee without further action by the Board of Supervisors.

        The adjusted hourly rate and weekly maximum fee shall take effect

        on July 1.

      (e) A Covered Employee may voluntarily waive an offer of health

plan benefits under this Section 12Q.3 using a waiver form approved by the

Agency upon providing the Contracting Party proof of current health plan

coverage. With respect to subsection (d) of this Section 12Q.3, such proof of

current health plan coverage must include the Covered Employee’s depend-

ents. The Contracting Party must retain voluntary waiver forms and proof

of health plan coverage for three years and must provide the Agency access

to them upon request.

       (f) When preparing proposed budgets and requests for supple-

mental appropriations for contract services, City departments that regularly

enter into agreements for the provision of services by nonprofit corporations

shall transmit with their proposal a written confirmation that the

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department has considered in its calculation the costs that the nonprofit cor-

porations calculate that they will incur in complying with the Health Care

Accountability Ordinance.

        (g) Notwithstanding the above, if, at the time a Contract, Subcon-

tract, Lease, or Sublease is executed, the Contracting Party has 20 or fewer

employees (or, in the case of a Nonprofit Corporation, 50 or fewer employ-

ees), including any employees the Contracting Party plans to hire to

implement the Contract, Subcontract, Lease, or Sublease, the Contracting

Party shall not be obligated to provide the Health Care Accountability Com-

ponents set forth in this Section 12Q.3(a), (b), or (c) to its Covered Employees.

In determining the number of employees had by a Contracting Party, all em-

ployees of all entities that own or control the Contracting Party and that the

Contracting Party owns or controls, shall be included.



S.F. Admin. Code § 12Q.5. Administration and Enforcement.

…

      (f)   In addition to any other rights or remedies available to the City

under the terms of any agreement of a Contracting Party or under applicable

law, the City shall have the following rights:


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   (1) The right, at the discretion of the Agency, to charge the Con-

tracting Party for any amounts that the Contracting Party should have

paid to the City for hours worked by Covered Employees pursuant to

Section 12Q.3(a)(2), (b), or (d), or to Covered Employees pursuant to

Section 12Q.3(c)(2), together with simple annual interest of 10% on

such amount from the date payment was due;

   (2) The right, at the discretion of the Agency, to assess liquidated

damages as provided in Section 12Q.5.1 and 12Q.5.2;

   (3) The right, at the discretion of the Agency, to set off all or any

portion of the amount that a Contracting Party is required to pay to

the City pursuant to preceding Subsections (g)(1) and (2) against

amounts due to a Contracting Party;

   (4) The right, at the discretion of the Contracting Department, to

terminate the Contract or Lease in whole or in part;

   (5) The right, at the discretion of either the Contracting Depart-

ment or the Agency, to bar a Contracting Party from entering into

future Contracts or Leases with the City for three (3) years.

   (6) The right to bring a civil action against the Contractor to pursue

the remedies provided by this Chapter and other applicable law. The

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     prevailing party shall be entitled to all costs and expenses, including

     reasonable attorney’s fees.

…



S.F. Admin. Code § 12Q.5.1. Additional Contract Requirements:
Liquidated Damages.

     Every Contract, Contract Amendment, Lease and Lease Amendment

entered after January 1, 2006 shall contain provisions in which the Contract-

ing Party agrees:

        (1) To be liable to the City for liquidated damages as provided in

     this Section;

        (2) To be subject to the procedures governing enforcement of a

     breach of the terms of a Contract, Contract Amendment, Lease or Lease

     Amendment which terms are required by this Chapter, as set forth in

     Section 12Q.5.2;

        (3) That the commitment of Contracting Parties to comply with the

     requirements of this Chapter is a material element of the City’s consid-

     eration for the agreement and that the failure of a Contracting Party to

     comply will cause significant and substantial harm to the City and the



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public, which is extremely difficult to determine or quantify, and that

the liquidated damages set forth in this Section are reasonable

amounts to pay for the harm caused by the Contracting Party’s non-

compliance;

   (4) That for failure to comply with the requirements of this Chap-

ter, the Agency may require the Contracting Party to pay the City

liquidated damages of up to one hundred dollars ($100) for each one-

week pay period for each employee for whom the Contracting Party

has either not offered health plan benefits or made payments as re-

quired by Section 12Q.3. The Agency shall adjust this amount

proportionately for Contracting Parties that use a pay period other

than one week;

   (5) That for any failure to provide reports to the City or access to

pertinent records, or any failure to cooperate with any audit, inspec-

tion or investigation conducted by the Agency, the Agency may

require the Contracting Party to pay the City liquidated damages of

up to one thousand dollars ($1000); and

   (6) That while liquidated damages in the maximum amounts set

forth in this Section are a reasonable estimate of the harm caused by

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the Contracting Party’s non-compliance with contractual provisions

required by this Chapter, the Agency may determine that less than the

full amount is warranted depending on the circumstances of each case.

The Agency shall give due consideration to the following factors in

determining the amount of liquidated damages: the size of the Con-

tracting Party’s business, the Contracting Party’s good faith, the

gravity of the violation, the history of previous violations, the failure

to comply with record-keeping, reporting and anti-retaliation require-

ments, and the extent to which the imposition of liquidated damages

would undermine the purpose of this Chapter by imposing unreason-

able financial burdens on the Contracting Party, thereby restricting its

ability to fulfill its obligations under this Chapter.




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